7-1 LIMS (Rev 10-2-17)

 

UNCLASSIFIED

[Kew £20(Wh) UA y Savor

F Bi Laboratory 2501 Investigation Parkway

Quantico, Virginia 22135

4940 Fowler Road
Huntsville, Alabama 35898

 

 

 

LABORATORY REPORT
To: Joseph John Capaccio Date: January 2, 2019
New York

Case ID No.: NY-3005093 —

Lab No.: 2018-03241-8 USDC SDNY
Communication(s): October 30, 2018 nue
Agency Reference(s): Doce R NICALLY ] FILED
Subject(s): DATE FILED. - :
Victim(s):

Discipline(s):

 

 

Explosives Device

FBI Laboratory Evidence Designator(s):

Item 1
Item 1-1
Item 1-2
Item 1-3
Item 1-4
Item 1-5
Item 1-6
Item 1-7
Item 1-7-1

Item 1-7-2

Item 1-8
Item 1-9
Item 1-10
Item 1-11
Item 1-11-1

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Envelope addressed to "Maxim Waters" (1B23-E6259371)
Stamp removed from Item 1 (1B23-E6259371)

Stamp removed from Item 1 (1B23-E6259371)

Stamp removed from Item | (1B23-E6259371)

Stamp removed from Item 1 (1B23-E6259371)

Stamp removed from Item | (1B23-E6259371)

Stamp removed from Item 1 (1B23-E6259371)

Tape removed from Item | (1B23-E6259371)

Label bearing printing beginning "TO: MAXIM WATERS..." removed from
Item 1-7. (1B23-E6259371)

Label bearing printing "WASHINGTON, D.C. 20515" removed from Item 1-7
(1B23-E6259371)

Label removed from Item 1 (1B23-E6259371)
Label removed from Item 1 (1B23-E6259371)
Label removed from Item 1 (1B23-E6259371)
Tape removed from Item 1 (1B23-E6259371)
Tape removed from Item 1 (1B23-E6259371)

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Item 1-11-2
Item 2

Item 2-1
Item 2-2
Item 2-3
Item 2-3-1
Item 2-4
Item 3
Item 3-1
Item 3-2
Item 3-3
Item 3-4
Item 3-5
Item 3-5-1]
Item 3-5-2
Item 3-5-3
Item 3-5-4
Item 3-5-5
Item 3-5-6
Item 3-5-7
Item 3-5-8
Item 3-5-9
Item 3-5-10
Item 4
Item 4-1
Item 4-1-1]
Item 4-1-2
Item 4-1-3
Item 4-2

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Tape removed from Item | (1B23-E6259371)

One PVC pipe with end caps, wire, putty, and digital timer with battery (1B23-
E6259371)

Tape removed from Item 2 (1B23-E6259371)
Tape removed from Item 2 (1B23-E6259371)
Piece of paper from Item 2 - ISIS Flag (1B23-E6259371)
Image of Maxine Waters (1B23-E6259371)

Hook and loop tape from Item 2 (1B23-E6259371)
Powder removed from Item 2 (1B23-E6259371)
Powder sample from Item 3 (1B23-E6259371)
Clear fragments from Item 3 (1B23-E6259371)
Unknown mineral-like material from Item 3 (1B23-E6259371)
Clear sphere from Item 3 (1B23-E6259371)
Debris recovered from Item 3 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Glass recovered from Item 3-5 (1B23-E6259371)
Envelope (1 B23-E6259371)

Powder removed from Item 4 (1B23-E6259371)
Powder sample from Item 4-1 (1B23-E6259371)
Powder sample from Item 4-1 (1B23-E6259371)
Debris from Item 4-1 (1B23-E6259371)

Hair removed from Item 4 (1B23-E6259371)

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Item 4-2-1
Item 4-3
Item 4-4
Item 4-4-1
Item 5
Item 5-1
Item 5-2
Item 5-3
Item 5-4
Item 5-5
Item 5-6
Item 5-7
Item 5-8
Item 5-9

Item 6

Item 6-1
Item 6-2
Item 6-3
Item 6-3-1
Item 6-4
Item 7
Item 7-1]
Item 7-2
Item 7-3
Item 7-4
Item 7-5
Item 7-5-1}
Item 7-5-2
Item 7-5-3

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Root portion of Item 4-2 hair (1B23-E6259371)
Portion of paper from Item 4 (1B23-E6259371)
Hair removed from Item 4 flap (1B23-E6259371)
Root portion of Item 4-4 hair (1B23-E6259371)
Envelope addressed to "Barrack Obama" (1 B20-E5520897)
Stamp removed from Item 5 (1B20-E5520897)
Stamp removed from Item 5 (1B20-E5520897)
Stamp removed from Item 5 (1B20-E5520897)
Stamp removed from Item 5 (1B20-E5520897)
Stamp removed from Item 5 (1B20-E5520897)
Stamp removed from Item 5 (1B20-E5520897)
Label removed from Item 5 (1B20-E5520897)
Label removed from Item 5 (1B20-E5520897)
Tape removed from Item 5 (1B20-E5520897)

One PVC pipe with end caps, wire, putty, and digital timer with battery (1B20-
E5520897)

Tape removed from Item 6 (1B20-E5520897)

Tape removed from Item 6 (1B20-E5520897)

Piece of paper from Item 6 - ISIS Flag (1B20-E5520897)
Image of Obama Family (1B20-E5520897)

Debris (1B20-E5520897)

Powder removed from Item 6 (1B20-E5520897)

Powder sample from Item 7 (1B20-E5520897)

Clear fragments from Item 7 (1B20-E5520897)

Clear spheres removed from Item 7 (1B20-E5520897)
Unknown mineral-like material from Item 7 (1 B20-E5520897)
Debris recovered from Item 7 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

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Item 7-5-4
Item 7-5-5
Item 7-5-6
Item 7-5-7
Item 7-5-8
Item 7-5-9
Item 7-5-10
Item 8
Item 8-1
Item 8-1-1
Item 8-1-2
Item 8-1-3
Item 8-2
Item 9
Item 10
Item 11
Item 12
Item 13
Item 13-1
Item 13-2
Item 13-3
Item 13-4
Item 13-5
Item 13-6
Item 13-7
Item 13-8
Item 13-9
Item 13-10
Item 13-11
Item 13-12

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Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)

Glass recovered from Item 7-5 (1B20-E5520897)
Envelope (1B20-E5520897)

Powder removed from Item 8 (1B20-E5520897)

Powder sample from Item 8-1 (1B20-E5520897)

Powder sample from Item 8-1 (1B20-E5520897)

Debris from Item 8-1 (1B20-E5520897)

Label removed from Item 8 (1B20-E5520897)

Trace - Hairs/Fibers Secondary Evidence (slides) (1B23-E6259371)
Soil sample (1B4-E6261702)

Soil sample (1B3-E6261701)

Soil sample (1B5-E6261703)

Pieces of envelope formerly addressed to “George Soros" (1B9-E6261718)
Powder sample from Item 13 (1B9-E6261718)

Stamp removed from Item 13 (1B9-E6261718)

Stamp removed from Item 13 (1B9-E6261718)

Portion of stamp removed from Item 13 (1B9-E6261718)
Portion of stamp removed from Item 13 (1B9-E6261718)
Portion of stamp removed from Item 13 (1B9-E6261718)
Portion of stamp removed from Item 13 (1B9-E6261718)
Tape removed from Item 13 (1B9-E6261718)

Label removed from Item 13 (1B9-E6261718)

Label removed from Item 13 (1B9-E6261718)

Tape removed from Item 13 (1B9-E6261718)

Piece of plastic (1B9-E6261718)

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Item 13-12-1 Tape removed from Item 13-12 (1B9-E6261718)

Item 13-13 Portion of smaller envelope removed from Item 13 container (1B9-E6261718)
Item 14 Soil sample (1 B8-E6261720)

Item 15 PVC end cap, wire, and plastic (1B11-E6261708)

Item 15-1 Tape with Item 15 (1B11-E6261708)

Item 16 PVC pipe, and wire (1B10-E6261707)

Item 16-1 Powder sample from Item 16 (1B10-E6261707)

Item 16-I-1 Clear fragments from 16-1 (1B10-E6261707)

Item 16-2 Tape removed from Item 16 (1B10-E6261707)

Item 16-2-1 Photo from Item 16-2 (1B10-E6261707)

Item 16-2-1-1 | Tape removed from Item 16-2-1 (1B10-E6261707)

Item 16-3 Label from Item 16 (1B10-E6261707)

Item 16-3-1 Tape removed from Item 16-3 (1B10-E6261707)

Item 16-4 Piece of black electrical tape with Item 16 (1B10-E6261707)
Item 17 Powder sample (1B2-E6261700)

Item 17-1 Clear fragments from Item 17 (1B2-E6261700)

Item 17-1-1 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-2 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-3 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-4 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-5 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-6 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-7 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-8 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-9 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-10 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-11 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-1-12 Glass recovered from Item 17-1 (1B2-E6261700)

Item 17-2 Clear sphere from Item 17 (1B2-E6261700)

Item 17-3 Unknown mineral-like material from Item 17 (1B2-E6261700)

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UNCLASSIFIED
Item 18
Item 18-1
Item 18-2
Item 18-3
Item 18-4
Item 18-5
Item 18-6
Item 18-7
Item 18-7-1
Item 18-8
Item 19
Item 20
Item 20-1
Item 20-2
Item 20-3
Item 20-4
Item 20-5
Item 2]
Item 22
Item 22-1
Item 23
Item 24
Item 24-1
Item 25
Item 26
Item 26-1
Item 27
Item 27-1
Item 28
Item 29

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Soil, plant, and fragmentary debris (1B7-E6261705)
Pieces of paper with Item 18 (1B7-E6261705)

White plastic debris with Item 18 (1B7-E6261705)
Clock component debris with Item 18 (1B7-E6261705)
Plastic debris with Item 18 (1B7-E6261705)
Miscellaneous debris with Item 18 (1B7-E6261705)
Tape with Item 18 (1B7-E6261705)

Piece of colored paper with Item 18 (1B7-E6261705)
Tape removed from Item 18-7 (1B7-E6261705)

Root of hair from Jtem 18 (1B7-E6261705)

Render safe rounds (1B1-E6261699)

Debris (1B 18-E6261715)

Glass recovered from Item 20 (1B18-E6261715)

Glass recovered from Item 20 (1B18-E6261715)

Glass recovered from Item 20 (1B18-E6261715)

Glass recovered from Item 20 (1B18-E6261715)

Glass recovered from Item 20 (1B18-E6261715)
Battery (1B17-E6261714)

Paper debris (1B16-E6261713)

Portions of postage stamp(s) (1B16-E6261713)

Pieces of paper and plastic with tape (1B15-E6261712)
Circuit board pieces (1B14-E626171 1)

Pieces of circuit board and debris (1B14-E6261711)
Wadding from PAN round (1B12-E6261709)

PVC fragments and debris (1B19-E6261716)

Tape from Item 26 (1B19-E6261716)

Plastic pieces, hook and loop tape, debris (1B13-E6261710)
Debris from Item 27 (1B13-E6261710)

Tarp (1B6-E6261704)

Envelope

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Item 29-1] Piece of paper beginning "Joseph Robinette Biden, Jr." from Item 29
Item 29-2 Piece of paper beginning "FROM: DEBBIE WASSERMAN SHULTZ..." from
Item 29
Item 29-3 Stamp from Item 29
Item 29-4 Stamp from Item 29
Item 29-5 Stamp from Item 29.
Item 29-6 Stamp from Item 29
Item 29-7 Stamp from Item 29
Item 29-8 Stamp from Item 29
Item 29-9 Tape from Item 29
Item 30 One PVC pipe with end caps, wire, putty, and digital timer with battery
Item 30-1 Tape removed from Item 30
Item 30-1-1 Plastic removed from Item 30-1
Item 30-2 Photo removed from Item 30
Item 30-3 Label removed from Item 30
Item 30-4 Photo removed from Item 30
Item 30-5 Tape removed from Item 30
Item 30-6 Tape removed from Item 30
Item 30-7 Part of timer from Item 30
Item 31 Powder removed from Item 30
Item 31-1 Powder sample from Item 31]
Item 31-2 Glass recovered from Item 31
Item 31-3 Glass recovered from Item 31
Item 31-4 Glass recovered from Item 31
Item 31-5 Glass recovered from Item 31
Item 31-6 Glass recovered from Item 31
Item 31-7 Glass recovered from Item 31
Item 31-8 Glass recovered from Item 31
Item 31-9 Glass recovered from Item 31
Item 31-10 Glass recovered from Item 31
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Item 31-11
Item 32
Item 32-1
Item 32-1-1
Item 33
Item 33-1
Item 33-2
Item 33-3
Item 33-4
Item 33-5
Item 33-6
Item 33-7
Item 33-8
Item 33-9
Item 33-9-1
Item 33-10
Item 34
Item 34-1
Item 34-2
Item 34-3
Item 34-4
Item 34-5
Item 34-6
Item 34-7
Item 34-7-]
Item 34-7-2
Item 35
Item 35-1
Item 35-2
Item 35-3

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Glass recovered from Item 31
Envelope

Powder removed from Item 32
Powder sample from Item 32-1
Envelope

Stamp removed from Item 33

Stamp removed from Item 33

Stamp removed from Item 33

Stamp removed from Item 33

Stamp removed from Item 33

Stamp removed from Item 33

Label removed from Item 33

Label removed from Item 33

Tape removed from Item 33

One piece of tape removed from Item 33-9
Label with tape removed from Item 33
One PVC pipe with end caps, wire, putty, and digital timer
Tape removed from Item 34

Photo removed from Item 34

Label removed from Item 34

Photo removed from Item 34

Tape removed from Item 34

Tape removed from Item 34

Paper removed from Item 34

Plastic removed from Item 34

Tape removed from Item 34-7
Powder removed from Item 34
Powder sample from Item 35

Glass recovered from Item 35

Glass recovered from Item 35

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Item 35-4
Item 35-5
Item 35-6
Item 35-7
Item 35-8
Item 35-9
Item 35-10
Item 35-11
Item 36
Item 36-1
Item 36-1-1
Item 36-2
Item 37

Item 37-1
Item 37-2
Item 37-2-1
Item 37-2-2
Item 37-3
Item 38
Item 38-1
Item 38-2
Item 38-3
Item 38-4
Item 38-5
Item 38-6
Item 38-7
Item 38-8
Item 38-9
Item 38-10

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Glass recovered from Item 35
Glass recovered from Item 35
Glass recovered from Item 35
Glass recovered from Item 35
Glass recovered from Item 35
Glass recovered from Item 35
Glass recovered from Item 35
Glass recovered from Item 35
Envelope and small portion of flap
Powder removed from Item 36
Powder sample from Item 36-1
Label removed from Item 36

One PVC pipe with two (2) end caps, wires, putty, spring, and digital timer
(1B22-E6261698)

Tape from Item 37 (1B22-E6261698)

Tape from Item 37 (1B22-E6261698)

Piece of paper from Item 37-2 (1B22-E6261698)
Piece of paper from Item 37-2 (1B22-E6261698)
Tape from Item 37 (1B22-E6261698)

Powder removed from Item 37 (1B22-E6261698)
Powder sample from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-F6261698)
Glass recovered from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-E6261698)
Glass recovered from Item 38 (1B22-E6261698)

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Item 38-1]
Item 39
Item 39-1

Item 39-2

Item 39-3
Item 39-4
Item 39-5
Item 39-6
Item 39-7
Item 39-8
Item 39-9
Item 40

Item 40-1
Item 40-2
Item 40-2-1
Item 40-2-2
Item 40-3
Item 40-4
Item 41
Item 41-1
Item 41-2
Item 41-3
Item 41-4
Item 41-5
Item 41-6
item 41-7
Item 41-8
Item 41-9

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Glass recovered from Item 38 (1B22-E6261698)
Envelope (1 B28-E6261721)

Piece of paper bearing "TO: ROBERT DE NIRO..." from Item 39 (1B28-
E6261721)

Piece of paper bearing "FROM: DEBBIE WASSERMAN SHULTZ..." from
Item 39 (1B28-E6261721)

Stamp from Item 39 (1B28-E6261721)
Stamp from Item 39 (1B28-E6261721)
Stamp from Item 39 (1B28-E6261721)
Stamp from Item 39 (1B28-E6261721)
Stamp from Item 39 (1B28-E6261721)
Stamp from Item 39 (1B28-E6261721)
Tape from Item 39 (1B28-E6261721)

One (1) PVC pipe with two (2) end caps, wires, putty, spring, digital timer, and
debris (1B28-E6261721)

Tape from Item 40 (1 B28-E6261721)

Tape from Item 40 (1 B28-E6261721)

Piece of paper from Item 40-2 (1B28-E6261721)
Piece of paper from Item 40-2 (1B28-E6261721)
Tape from Item 40 (1B28-E6261721)

Piece of timer from Item 40

Powder removed from Item 40 (1B28-E6261721)
Powder sample from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)

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Item 41-10
Item 41-11
Item 42
Item 42-1
Item 42-1-1
Item 42-2
Item 43
Item 43-1
Item 43-2
Item 43-3
Item 43-4
Item 43-5
Item 43-6
Item 43-7
Item 43-8
Item 43-9
Item 43-10
Item 43-11
Item 44

Item 44-1
Item 44-2
Item 44-3
Item 44-4
Item 45

Item 45-1
Item 45-2
Item 45-3
Item 45-4
Item 45-5

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Glass recovered from Item 41 (1B28-E6261721)
Glass recovered from Item 41 (1B28-E6261721)
Envelope (1B28-E6261721)

Powder removed from Item 42 (1B28-E6261721)
Powder sample from Item 42-1 (1B28-E6261721)
Label removed from Item 42 (1B28-E6261721)
Envelope addressed to "Hilary Clinton” (1B21-E6261697)
Stamp from Item 43 (1B21-E6261697)

Stamp from Item 43 (1B21-E6261697)

Stamp from Item 43 (1B21-E6261697)

Stamp from Item 43 (1B21-E6261697)

Stamp from Item 43 (1B21-E6261697)

Stamp from Item 43 (1B21-E6261697)

Left portion of paper from Item 43 (1B21-E6261697)
Right portion of paper on Item 43 (1B21-E6261697)
Tape from Item 43 (1B21-E6261697)

Paper from Item 43 (1B21-E6261697)

Tape from Item 43 (1B21-E6261697)

One PVC pipe with end caps, wire, putty, and digital timer with battery (1B21-
E6261697)

Tape removed from Item 44 (1B21-E6261697)
Photo removed from Item 44 (1B21-E6261697)
Label removed from Item 44 (1B21-E6261697)
Tape removed from Item 44 (1B21-E6261697)
Powder removed from Item 44 (1B21-E6261697)
Powder sample from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)

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Item 45-6
Item 45-7
Item 45-8
Ttem 45-9
Item 45-10
Item 45-11
Item 46
Item 46-1
Item 46-1-1
Item 46-2
Item 47
Item 47-1
Item 47-2
Item 47-3
Item 47-4
Item 48

Item 48-1
Item 48-2
Item 48-3
Item 48-4
Item 48-5
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Item 48-7
Item 48-8
Item 48-9
Item 48-10
Item 48-10-1
Item 48-10-2
Item 48-11

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Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Glass recovered from Item 45 (1B21-E6261697)
Envelope (1B21-E6261697)

Powder removed from Item 46 (1B21-E6261697)
Powder sample from Item 46-1 (1B21-E6261697)
Label removed from Item 46 (1B21-E6261697)
One PVC pipe with end cap and wire (1B24-E6288497)
Tape removed from Item 47 (1B24-E6288497)
Tape removed from Item 47 (1B24-E6288497)
Paper removed from Item 47 (1B24-E6288497)
Paper removed from Item 47 (1B24-E6288497)

Pieces of envelope formerly addressed to "Eric Himpton Ho..." with tape
(1B25-E6288489)

Stamp removed from Item 48 (1B25-E6288489)

Stamp removed from Item 48 (1B25-E6288489)

Stamp removed from Item 48 (1B25-E6288489)

Stamp removed from Item 48 (1B25-E6288489)

Stamp removed from Item 48 (1B25-E6288489)

Stamp removed from Item 48 (1B25-E6288489)

Return address label removed from Item 48 (1B25-E6288489)
Address label removed from Item 48 (1B25-F6288489)

Tape removed from Item 48 (1B25-E6288489)

Small envelope and label (1B25-E6288489)

Root of hair from Item 48-10 (1B25-E6288489)

One (1) grommet recovered from inside Item 48-10 envelope (1B25-E6288489)
Root of hair from Item 48 (1B25-E6288489)

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Item 48-12
Item 49
Item 49-1
Item 49-2
Item 49-3
Item 49-4
Item 50
Item 50-1
Item 50-2
Item 50-3
Item 51
Item 52
Item 52-1
Item 52-2
Item 52-3
Item 52-4
Item 52-5
Item 52-6
Item 52-7
Item 52-8
Item 53
Item 54
Item 55
Item 55-1
Item 55-2
Item 55-3
Item 55-4
Ttem 55-5
Item 55-6
Item 55-7

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Root of hair from Item 48 (1B25-E6288489)

PVC pieces, tape, debris (1B26-E652964)

Tape removed from Item 49 (1B26-E652964)
Tape removed from Item 49 (1B26-E652964)
Velcro removed from Item 49 (1B26-E652964)
Paper removed from Item 49 (1B26-E652964)
Pieces of timer and tape (1B27-E652963)

Hook and loop tape removed from Item 50 (1B27-E652963)
Tape removed from Item 50 (1B27-E652963)
Tape from Item 50 (1B27-E652963)

Trace - Hairs/Fibers Secondary Evidence (1 pillbox) (1B23-E6259371)
Powder sample from Item 47 (1B55; E652959)
Debris removed from Item 52 (1B55; E652959)
Glass recovered from Jtem 52-1 (1B55; E652959)
Glass recovered from Item 52-1 (1B55; E652959)
Glass recovered from Item 52-1 (1B55; E652959)
Glass recovered from Item 52-1 (1B55; E652959)
Glass recovered from Item 52-1 (1B55; E652959)
Glass recovered from Item 52-1 (1B55; E652959)
Glass recovered from Item 52-1 (1B55; E652959)
Powder removed from Item 47 (1B56; E652958)
Debris (1B57; E652957)

Powder sample from Item 58 (1B41; E6288505)
Debris from Item 55 (1B41; E6288505)

Glass recovered from Item 55-1 (1B41; E6288505)
Glass recovered from Item 55-1 (1B41; E6288505)
Glass recovered from Item 55-1 (1B41; E6288505)
Glass recovered from Item 55-1 (1B41; E6288505)
Glass recovered from Item 55-1 (1B41; E6288505)
Glass recovered from Item 55-1 (1B41; E6288505)

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Item 55-8
Item 55-9
Item 55-10
Item 55-11
Item 56
Item 56-1
Item 56-1-1
Item 56-1-2
Item 57
Item 57-1
Item 57-2

Item 57-3
Item 57-4
Item 57-5
Item 57-6
Item 57-7
Item 57-8
Item 57-9
Item 58

Item 58-1
Item 58-2
Item 58-2-1
Item 58-3
Item 58-4
Item 59
Item 60
Item 61
Item 62
Item 62-1

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Glass recovered from Item 55-1 (1B41; E6288505)

Glass recovered from Item 55-1 (1B41; E6288505)

Glass recovered from Item 55-1 (1B41; E6288505)

Glass recovered from Item 55-1 (1B41; E6288505)

Envelope (1B42; E652962)

Powder from Item 56 (1B42; E652962)

Powder sample from Item 56-1 (1B42; E652962)

Debris from Item 56-1 (1B42; E652962)

Envelope and tape (1B43; E652961)

Piece of paper beginning "TO: CORY BOOKER..." (1B43; E652961)

Piece of paper beginning "FROM: DEBBIE WASSERMAN SHULTZ [sic]..."
(1B43; E652961)

Stamp from Item 57 (1B43; E652961)
Stamp from Item 57 (1B43; E652961)
Stamp from Item 57 (1B43; E652961)
Stamp from Item 57 (1B43; E652961)
Stamp from Item 57 (1B43; E652961)
Stamp from Item 57 (1B43; E652961)
Tape from Item 57 (1B43; E652961)

Pipe with one end cap, wire, pieces of pipe, glass, plastic film, hook and loop
tape, and digital timer (1B44; E652960)

Tape from Item 58 (1B44; E652960)

Paper from Item 58 (1B44; E652960)

Photo from Item 58-2 (1B44; E652960)

Tape from Item 58 (1B44; E652960)

Pieces of PVC pipe, putty, and wire (1B44; E652960)

PAN round cartidge (1B29-E5532633)

Powder sample (1B31-E5532635)

Powder sample (1B34-E5532638)

One PVC pipe with with end cap, putty, timer, wires (1B37-E5532641)
Tape removed from Item 62 (1B37-E5532641)

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Item 62-2
Item 62-3
Item 62-4
Item 62-5
Item 62-6
Item 62-6-1
Item 62-6-2
Item 62-6-3
Item 62-6-4
Item 63
Item 63-1
Item 63-2
Item 63-3
Item 63-4
Item 63-5
Item 63-6
Item 63-7
Item 63-8
Item 63-9
Item 64
Item 64-]
Item 64-1-1
Item 64-1-2
Item 64-2
Item 65
Item 65-1
Item 65-2
Item 65-3
Item 65-4
Item 65-5

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Tape removed from Item 62 (1B37-E5532641)

Hook and loop tape removed from Item 62 (1B37-E5532641)
Color photo from Item 62 (1B37-E5532641)

Paper with foreign text from Item 62 (1B37-E5532641)
Debris (1B37-E5532641)

Glass recovered from Item 62-6 (1B37-E5532641)

Glass recovered from Item 62-6 (1B37-E5532641)

Glass recovered from Item 62-6 (1B37-E5532641)

Glass recovered from Item 62-6 (1B37-E5532641)
Envelope addressed to "Maxim Waters" (1B38-E5532642)
Stamp removed from Item 63 (1B38, E5532641)

Stamp removed from Item 63 (1B38, E5532641)

Stamp removed from Item 63 (1B38, E5532641)

Stamp removed from Item 63 (1B38, E5532641)

Stamp removed from Item 63 (1B38, E5532641)

Stamp removed from Item 63 (1B38, E5532641)

Label removed from Item 63 (1B38, E5532641)

Label removed from Item 63 (1B38, E5532641)

Tape removed from Item 63 (1B38, E5532641)

Envelope and flap (1B33-E5532637)

Debris (1B33-E5532637)

Glass recovered from Item 64-1 (1B33-E5532637)

Glass recovered from Item 64-1 (1B33-E5532637)

Label from Item 64 (1B33, E5532637)

Envelope addressed to "James Robert Clapper" (1B62-E6228497)
Stamp from Item 65 (1B62-E6228497)

Stamp from Item 65 (1B62-E6228497)

Stamp from Item 65 (1B62-E6228497)

Stamp from Item 65 (1B62-E6228497)

Stamp from Item 65 (1B62-E6228497)

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Item 65-6
Item 65-7
Item 65-7-1
Item 65-8
Item 65-9
Item 66
Item 66-1
Item 66-2
Item 66-2-1
Item 66-2-2
Item 66-3
Item 66-4
Item 66-5
Item 66-6
Item 67
Item 67-1
Item 67-2
Item 67-3
Item 67-4
Item 67-5
Item 67-6
Item 67-7
Item 67-8
Item 67-9
Item 67-10
Item 67-11
Item 68
Item 68-1
Item 68-1-1
Item 68-1-2

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Stamp from Item 65 (1B62-E6228497)

Address label from Item 65 (1B62-E6228497)

Tape from Item 65-7 (1B62-E6228497)

Return address label from Item 65 (1B62-E6228497)

Tape from Item 65 (1B62-E6228497)

One PVC pipe with end caps, wire, putty, and digital timer (1B62-E6228497)
Black tape removed from Item 66 (1B62-E6228497)

Clear tape removed from Item 66 (1B62-E6228497)

Photo from Item 66-2 (1B62-E6228497)

Piece of paper from Item 66-2 (1B62-E6228497)

Piece of loose plastic lined paper with Item 66 (1B62-E6228497)
Hook and loop tape removed from Item 66 (pipe) (1B62-E6228497)
Hook and loop tape removed from Item 66 (timer) (1B62-E6228497)
Piece of loose plastic bearing a time (1B62-E6228497)

Powder from Item 66 (1B62-E6228497)

Powder sample from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Glass recovered from Item 67 (1B62-E6228497)

Envelope (1B62-E6228497)

Powder removed from Item 68 (1B62-E6228497)

Powder sample from 68-1 (1B62-E6228497)

Debris from Item 68-1 (1B62-E6228497)

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Item 69
Item 69-1
Item 69-2

Item 69-3
Item 69-4
Item 69-5
Item 69-6
Item 69-7
Item 69-8
Item 69-9
Item 70

Item 70-1
Item 70-2
Item 70-3
Item 70-4
Item 70-5

Item 70-6
Item 70-7
Item 71

Item 71-1
Item 71-2
Item 71-3
Item 71-4
Item 71-5
Item 71-6
Item 71-7
Item 71-8
Item 71-9

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Envelope addressed to "Kamalia Harris" (1B71, E624040)
Piece of paper beginning "TO: KAMALIA [sic] HARRIS..." (1B71, E624040)

Piece of paper beginning "FROM: DEBBIE WASSERMAN SHULTZ [sic)...”
(1B71, E624040)

Stamp from Item 69 (1B71, E624040)

Stamp from Item 69 (1B71, E624040)

Stamp from Item 69 (1B71, E624040)

Stamp from Item 69 (1B71, E624040)

Stamp from Item 69 (1B71, E624040)

Stamp from Item 69 (1B71, E624040)

Tape from Item 69 (1B71, E624040)

One PVC pipe with two end caps, putty, wire, digital timer (1B70-E624039)
Tape removed from Item 70 (1B70, E624039)

Tape removed from Item 70 (1B70, E624039)

Hook and loop tape removed from Item 70 (1B70, E624039)
Color photo removed from Item 70 (1B70, E624039)

Paper with black and white foreign text removed from Item 70 (1B70,
E624039)

Glass fragment (1B70, E624039)

Glass fragment (1B70, E624039)

Debris (1B73-E624038)

Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)
Glass recovered from Item 71 (1B73-E624038)

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Item 71-10
Item 72
Item 72-1]
Item 73
Item 73-1
Item 73-2
Item 73-3
Item 74
Item 74-1
Item 74-2
Item 74-3
Item 75
Item 75-1
Item 76
Item 77
Item 78
Item 78-1
Item 78-2
Item 78-3
Item 78-4
Item 78-5
Item 78-6
Item 78-7
Item 78-8
Item 78-9
Item 78-9-1
Item 79
Item 79-1
Item 79-2
Item 79-3

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Glass recovered from Item 71 (1B73-E624038)

Envelope and piece of flap (1B71-E624040)

Label removed from Item 72 (1B71, E624039)

Unused "TNT Blazing Rebel Fireworks" pyrotechnic (1B91, E637272)
Wrapper from Item 73 (1B91, E637272)

Powder sample from Item 73 (1B91, E637272)

Fuse from Item 73 (1B91, E637272)

Unused "TNT Mr Crackle" pyrotechnic (1B92, E637273)

Wrapper from Item 74 (1B92, E637273)

Powder sample from Item 74 (1B92, E637273)

Fuse from Item 74 (1B92, E637273)

Two unopened packages of "Hyper Tough Solder" (1B93, E637276)
One unopened package of "Hyper Tough Solder" (1B93, E637276)
Wrapper for "TNT Super Value 3 Pack" pyrotechnics (1B94, E637275)
Black and gray digital timer with hook and loop tape (1B95, E637274)
Envelope (1B64-E5523920)

Stamp removed from Item 78 (1B64-E5523920)

Stamp removed from Item 78 (1B64-E5523920)

Stamp removed from Item 78 (1B64-E5523920)

Stamp removed from Item 78 (1B64-E5523920)

Stamp removed from Item 78 (1B64-E5523920)

Stamp removed from Item 78 (1B64-E5523920)

Label removed from Item 78 (1B64-E5523920)

Label removed from Item 78 (1 B64-E5523920)

Tape removed from Item 78 (1B64-E5523920)

Hair from Item 78-9 (1B64-E5523920)

One PVC pipe with end cap, plastic, putty, digital timer, wire (1B63-E5523919)
Tape removed from Item 79 (1B63-E5523919)

Tape removed from Item 79 (1B63-E5523919)

Tape removed from Item 79 (1B63-E5523919)

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Item 79-4
Item 79-5
Item 79-6
Item 79-7
Item 79-8
Item 79-9
Item 79-10
Item 79-11
Item 79-12
Item 79-13
Item 79-14
Item 79-15
Item 79-16
Item 79-17
Item 79-18
Item 79-19
Item 80
Item 81
Item 81-1
Item 81-I-1
Item 81-1-2
Item 81-2
Item 82
Item 83
Item 84
Item 84-1
Item 85
Item 86
Item 86-1
Item 86-2

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Tape removed from Item 79 (1B63-E5523919)
Velcro removed from Item 79 (1B63-E5523919)
Paper removed from Item 79 (1B63-E5523919)
Paper removed from Item 79 (1B63-E5523919)
Tape removed from Item 79 (1B63-E5523919)
Debris from Item 79 (1B63-E5523919)

Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Glass recovered from Item 79-9 (1B63-E5523919)
Powder sample (1 B66-E5523922)

Envelope (1 B65-E5523921)

Powder removed from Item 81 (1B65-E5523921)
Powder sample from Item 81-1 (1B65-E5523921)
Debris from Item 81-1 (1 B65-E5523921)

Label removed from Item 81 (1B65-E5523921)
Hair sample from Cesar Sayoc (1B199, E4862875)
Buccal sample from Cesar Sayoc (1B198, E4862876)
Powder sample (1B72-E624036)

Debris from Item 84 (1B72-E624036)

Powder sample (1B74-E624037)

Envelope formerly addressed to "John Brenan" (1B58-E6228496)
Stamp removed from Item 86 (1B58-E6228496)
Stamp removed from Item 86 (1B58-E6228496)

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Item 86-3
Item 86-4
Item 86-5
Item 86-6
Item 86-7
Item 86-8
Item 86-9
Item 87
Item 87-1
Item 88
Item 88-1
Item 89
Item 89-1]
Item 89-2
Item 89-3
Item 89-4
Item 89-5
Item 89-6
Item 89-7
Item 89-8
Item 89-9
Item 89-10
Item 89-10-1
Item 90
Item 90-1
Item 90-2
Item 90-3
Item 90-4
Item 90-5
Item 91

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Stamp removed from Item 86 (1B58-E6228496)

Stamp removed from Item 86 (1B58-E6228496)

Stamp removed from Item 86 (1B58-E6228496)

Stamp removed from Item 86 (1B58-E6228496)

Paper removed from Item 86 (1B58-E6228496)

Paper removed from Item 86 (1B58-E6228496)

Tape removed from Item 86 (1B58-E6228496)

Envelope (1B58-E6228496)

Label removed from Item 87 (1B59-E6228493)

Powder sample (1B60-E6228494)

Debris from Item 88 (1B60-E6228494)

Envelope formerly addressed to "CNN" (1B209-E6207204)
Stamp removed from Item 89 (1B209-E6207204)

Stamp removed from Item 89 (1B209-E6207204)

Stamp removed from Item 89 (1B209-E6207204)

Stamp removed from Item 89 (1B209-E6207204)

Stamp removed from Item 89 (1B209-E6207204)

Stamp removed from Item 89 (1B209-E6207204)

Tape removed from Item 89 (1B209-E6207204)

Label removed from Item 89 (1B209-E6207204)

Label removed from Item 89 (1B209-E6207204)

Tape removed from Item 89 (1B209-E6207204)

Tape removed from Item 89 (1B209-E6207204)

One PVC pipe with end cap, putty, wire, and plastic film (1B210, E6207206)
Tape removed from Item 90 (1B210, E6207206)

Tape removed from Item 90 (1B210, E6207206)

Piece of paper removed from Item 90 (1B210, E6207206)
Velcro removed from Item 90 (1B210, E6207206)

Timer with wire, end cap, putty, and spring (1B210, E6207206)
PVC pipe with end caps, wire, putty, and digital timer (1B257-E5523923)

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Item 91-1
Item 91-2
Item 91-3
Item 91-4
Item 91-5
Item 91-6
Item 91-7
Item 91-8
Item 91-9
Item 91-10
Item 91-11
Item 91-12
Item 91-13
Item 91-14
Item 91-15
Item 91-16
Item 92
Item 92-1
Item 92-2
Item 92-3
Item 92-4
Item 92-5
Item 92-6
Item 92-7
Item 92-8
Item 92-9
Item 92-10
Item 93
Item 93-1
Item 93-1-1

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Debris from Item 91 (1B257-E5523923)

Tape removed from Item 91 (1B257-E5523923)
Tape removed from Item 91 (1B257-E5523923)
Tape removed from Item 91 (1B257-E5523923)
Paper removed from Item 91 (1B257-E5523923)
Paper removed from Item 91 (1B257-E5523923)
Velcro removed from Item 91 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Glass recovered from Item 91-1 (1B257-E5523923)
Envelope formerly addressed to "Tom Steyers” (1B258-E5523924)
Stamp removed from Item 92 (1B258-E5523924)
Stamp removed from Item 92 (1B258-E5523924)
Stamp removed from Item 92 (1B258-E5523924)
Stamp removed from Item 92 (1B258-E5523924)
Stamp removed from Item 92 (1B258-E5523924)
Stamp removed from Item 92 (1B258-E5523924)
Tape removed from Item 92 (1B258-E5523924)
Label removed from Item 92 (1B258-E5523924)
Label removed from Item 92 (1B258-E5523924)
Tape removed from Item 92 (1B258-E5523924)
Envelope (1B259-E5523925)

Powder removed from Item 93 (1B259-E5523925)
Powder sample from Item 93-1 (1B259-E5523925)

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Item 93-1-2 Debris from Item 93-1 (1B259-E5523925)

Item 93-2 Glass recovered from Item 93 (1B259-E5523925)
Item 93-3 Label removed from Item 93 (1B259-E5523925)
Item 94 Powder sample from Item 91 (1B260-E5523926)
Item 95 Powder sample (1B206-E6207201)

Item 96 Powder sample (1B207-E6207202)

Item 97 Powder sample (1B208-E6207203)

Item 97-1 Debris from Item 97 (1B208-E6207203)

Item 97-2 Glass recovered from Item 97-1 (1B208-E6207203)
Item 97-3 Glass recovered from Item 97-1 (1B208-E6207203)
Item 97-4 Glass recovered from Item 97-1 (1B208-E6207203)
Item 97-5 Glass recovered from Item 97-1 (1B208-E6207203)
Item 97-6 Glass recovered from Item 97-1 (1B208-E6207203)
Item 98 Envelope (1B205-E6207200)

Item 98-1 Powder removed from Item 98 (1B205-E6207200)
Item 98-1-1 Debris from Item 98-1 (1B205-E6207200)

Item 98-2 Label removed from Item 98 (1B205-E6207200)
Item 99 DNA Secondary evidence (110 tubes)

This report contains the final results of the hazardous device examinations performed in
the Explosives Unit.

ADMINISTRATIVE:

The Explosives Unit (EU) received 18 Submissions related to the captioned case.
Submissions 1 through 13, Submissions 15, and submissions 17 through 18 contained remains of
sixteen (16) Improvised Explosive Devices (IED’s). Submissions 14 and 16 were not IEDs.

All of these devices had some form of a Render Safe Procedure (RSP) performed on
them. A RSP uses tools to remotely break apart a suspected live device; thereby, making it safe
to approach and collect the evidence.

This report will be broken down into two Sections, Section 1 will cover the conclusions
for all submitted items and Section 2 will cover results of examination for each submission
separated by submission numbers. The submission numbers and device numbers are in different
order due to labeling by different divisions in the FBI. A supplemental report will be issued at a
later date covering the similarities between the submissions.

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Listed below is each Submission number with its assigned Device number.

Submission 1 (Device 5), consisted of Items 1 through Item 4-4-1, and Item 9, addressed
to Maxim Waters, 2221 Rayburn House Office Building, Washington, D.C. 20515.
Submission 2 (Device 4), consisted of Items 5 through Item 8-2, addressed to Barrack
Obama, P.O. Box 91000, Washington, D.C. 20066.

Submission 3 (Device 1), consisted of Items 10 through Item 28, addressed to George
Soros, 136 Cantitoe Street, Katonah, New York 10536-3804.

Submission 4 (Device 8), consisted of Items 29 through Item 32-1-1, addressed to Joseph
Robinette Biden, Jr., Rockland Plaza, 1519 Rockland Rd., Wilmington, Delaware 19803.
Submission 5 (Device 9) consisted of Items 33 through Item 36-2, addressed to Joseph
Robinette Biden Jr., 1209 Barley Mill Rd, Wilmington, Delaware 19807.

Submission 6 (Device 3), consisted of Items 37 through Item 38-11 and Items 86 to Item
88-1, addressed to John Brenan, Time warner (CNN), 10 Columbus Circle, New York,
NY, 10019.

Submission 7 (Device 10), consisted of Items 39 through Item 42-2, addressed to Robert
De Niro, Tribeca Productions, 375 Greenwich Street, New York, N.Y. 10013.
Submission 8, (Device 2), consisted of Items 43 through Items 46-2, addressed to Hilary
Clinton 15 Old House Lane, Chappaqua, New York 10514.

Submission 9 (Device 7), consisted of Items 47 through Items 54, addressed to Eric
Himpton Holder, Covington and Bu...., One City Center, 850 Tenth N.W., Washington,
D.C. 200...

Submission 10 (Devicel 1), consisted of Items 55 through Items 58-4, addressed to Cory
Booker, 2 Riverside, Camden, New Jersey 08103.

Submission 11 (Device 6), consisted of Items 59 through Item 64-2, addressed to Maxim
Waters, 10124 South Broadway #1, Los Angeles, California 90003.

Submission 12 (Device 12), consisted of Items 65 through Item 68-1-2, addressed to
James Robert Clapper, Time Warner (CNN), 10 Columbus Circle, New York, N.Y..,
10019.

Submission 13 (Device 13), consisted of Items 69 through Item 72-1, and Items 84
through Item 85, addressed to Kamalia Harris, Suite 7-600, Sacramento, California
95814.

Submission 14, consisted of Items 73 through Item 77, recovered in the subject’s vehicle
by the FBI Miami Division.

Submission 15 (Device 14), consisted of Items 78 through Item 81-2, addressed to Tom
Steyers, 1 Maritime Pl, 2 Suite 1325, San Francisco, California, 9411 1.

Submission 16, Items 82 through Item 83 and Item 99 were single unit submissions for
DNA only. No explosive or device examinations occurred on these submissions.
Submission 17 (Device 15), consisted of Items 89 through Item 90-5, and Items 95
through Item 98-2, addressed to CNN, One CNN Center, Atlanta, Georgia 30303.

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¢ Submission 18 (Device 16), consisted of Items 91 through Item 94, addressed to Tom
Steyers, 3 Embarcadero Center, Suite 2330, San Francisco, California 94111.

SECTION 1

CONCLUSION:

Present within the submitted Items are the disassembled remains of 16 (sixteen) Improvised
Explosive Devices (IEDs), also known as homemade bombs or destructive devices. The general
components of an IED are a main explosive charge, a fuzing system and a container.

The submitted Items each consisted of a low explosive main charge, a confinement container, a
concealment container and an electric fuzing system. When properly ignited by a suitable source
of heat, low explosives are designed to deflagrate and generate gasses. Within a confinement
container the gases rapidly expand causing an explosion of the container. This explosion would
result in fragments of the container being propelled outwards at high velocities into the
surrounding environment. Additionally, all sixteen (16) of these devices had glass fragments
added. Hardened objects, such as glass, are referred to as fragmentation. Fragmentation is added
to IEDs to impart further physical damage to the surrounding area, and/or injure/kill personnel in
the vicinity.

Properly assembled and initiated the resulting explosion from an JED of this type could cause
property damage and or personal injury.

As submitted, the devices would not have functioned as a result of their design. The fuzing
system for each device lacked the proper components and assembly to enable it to function as a
method of initiation for these devices. It cannot be determined if the non-functional fuzing
system is a result of poor design or the intent of the builder.
Submission 14, consisted of commercially produced fireworks. Fireworks are also referred to as
low explosive pyrotechnic devices. The powder in these devices can be removed and utilized as a
main charge in an Improvised Explosive Device (IED).
A detailed description of the individual components are set forth hereafter.

SECTION 2
RESULTS OF EXAMINATIONS:
Items 1 through 99, are covered by each submission detailed below.

SUBMISSION 1 (Device 5)

Submission 1, (Device 5), consisted of Items | through 4-4-1, addressed to Maxim Waters, 2221
Rayburn House Office Building, Washington, D.C. 20515. This device was transported to the

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FBI Explosives Unit and Rendered Safe at Charlie Demolition Range, Quantico, VA by FBI
Bomb Technicians.

MAIN CHARGE:

Powder (Item 3) was removed from the pipe nipple (Item 2) and chemical analysis of a powder
sample (Item 3-1) identified oxidizers and fuels that are commonly utilized in low explosive
pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item 3-1
reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 3-1. For detailed information on the
chemical analysis conducted on Item 3-1, see the FBI Laboratory Report for Laboratory number
2018-03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

    
  

 

 

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(Figure 1, Front of Item 1) (Figure 2, Back of Item 1)

Present in Item 1 (Figurel and 2) is one (1) manila envelope, with bubble wrap lining on the
inside. Information printed on the back indicates that it is a DuckBrand envelope with an inside
dimension of 4 in x 7 in and a bar code of 75353 39560, distributed by ShurTech Brands LLC,

AVON, OH 44011.

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The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

   

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(Figure 3, item 2 Pipe and fuzing system) rr igure 4, Tem: 3 7 Pipe)

 

 

 

 

 

Present in Item 2 (Figures 3 and 4) is one (1) white colored plastic pipe nipple with two (2) end
caps. The inner diameter of the pipe nipple measures approximately 0.92 inch with an
approximate outer diameter of 1.04 inches and an approximate length of 5.875 inches.
Information printed on the pipe nipple is as follows “00 PSI @ 23 C NSFrPW-G U.P. Code
ASTM”,

The end caps are similar in dimensions measuring approximately 1.05 inches in length with an
outer diameter of approximately 1.29 inches and an approximate inner diameter of 1.04 inches.
The end caps had the similar manufacturer information on them of “CHARLOTTE, USA, ...
007, ... SCH 40, D-2466 PVC-1, NSF-pw”, “12” on end cap A and “9” on end cap B. Some of
the printed text was obliterated due to the end caps having one small hole made in each. The
holes are similar in diameter measuring approximately 0.17 inch. These holes are commonly
referred to as a priming hole, which allows for insertion of a fuzing system into the main charge
container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

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(Figure 6, Item 2 Pipe and fuzing system)

 

 

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Figure 7, Item 5 Pipe and fuzing system)

 
  

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(Fi igure 9. Item 2 Pipe and fuzing system)

i igure 8, ‘Ttem 2 Pipe and “fuzing Sistem)

2018-03241 Item 2

 

(Figure 10, Item 2 x-ray of Pipe and fuzing system)

A Fuzing system in an JED is required to provide the stimulus or energy to cause the main

charge explosive to function. This IED had some components of an electrical fuzing system. An
electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and

a load.

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As submitted, the Device 5 would not have functioned as a result of its design. The fuzing
system lacked the proper components and assembly to enable it to function as a method of
initiation for this device. It cannot be determined if the non-functional fuzing system is a result
of poor design or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 2 (Figures 5 through 10) are two (2) wires; one (1) red insulated wire and one (1)
black insulated wire. Both the black and red insulated wires are multi-strand copper colored wire
with an approximate measurement of 16 AWG. Wires, properly connected would act as a
conductor of energy for an IED.

Item 2 (Figures 5 through 8) had one (1) coiled up piece of solder which was attached on both
ends to the wires described above. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solderis not an efficient material to utilize in this manner.

Item 2 (Figures 5 through 10) had one (1) black colored clock that was attached to the pipe
nipple by Item 2-4 hook and loop tape. The clock had two holes made into its side. One red
insulated wire and one black insulated wire were inserted into opposite holes in the clock.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “‘11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.449 inch in diameter and approximately 0.143 inch in height.
The potential measured voltage was 0.965 volts. The battery had the following markings on it,
“AGIO + 0.0 % Hg CELL”; and is consistent with a LR 41 button type battery. A battery
properly connected could act a power source for an JED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 3-5-1 to 3-5-10 are small fragments of broken glass. These glass pieces were
inside the confinement container. Added hardened objects, such as glass, are referred to as

fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

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MISCELLANEOUS:

The following items were removed from the envelope (Item 1) and/or the pipe nipple with end
caps (Item 2) during examinations in the laboratory.

Items |-] through Item 1-6 are six (6) U.S. Postal stamps removed from Item 1.

Item 1-7, is a clear piece of tape that secured the Items 1-7-1 and 1-7-2 to the front of Item 1.
Both items are pieces of paper with the following information typed on them; Item 1-7-1, “TO:
MAXIM WATERS, 2221 RAYBURN HOUSE, OFFICE BUILDING”; and Item 1-7-2
“WASHINGTON, D.C. 20515”.

Item 1-8 is a piece of paper with “FROM: DEBBIE WASSERMAN SHULTZ, 777 SAW
GRASS CORPORATE PARKWAY, SUNRISE, FLORIDS, 33325” typed on it.

Item 1-9 is paper removed from back of the envelope labeled “NOVITEX GOVERNMENT
SOLUTIONS, CAPITOL HEIGHTS MAIL FACILITY, 5-6000”, “HOUSE”, “FROM DEBBIE
WASSERMAN SHULTZ, CARR United States Postal Service, TRK# HOR9010050271, Date
10/24/2018, TIME 0743”, “TO: WATERS, MAXINE, OFFICE: REPRESENTATIVE MAXINE
WATERS, BUILDING: RAYBURN, MS: 2221, ROUTE: HR-RAYBURN-5”, bar code of
99990100502272”. This paper is placed on the back of the envelope at the Capitol Heights mail
facility for proper routing of mail.

Item 2-2, are two (2) pieces of black tape varying lengths with a width of .75 inch.
Item 2-3, is one (1) piece of paper with a picture of a visual approximation of an ISIS flag on it.

Item 2-3-1, is one (1) picture of a face, which appears to represent Representative Maxine-
Waters.

Item 2-4 is hook and loop tape from Item 2.

Item 4 is one (1) manila envelope that contained powder and debris. A powder sample, Item 4-1,
was removed from the envelope and a sub-sample, Item 4-1-1, was examined and deemed not
energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-03241-3,
dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders have been
added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 1,
Items 2-1,1-10,1-11, 1-11-1, 1-11-2, 2-1, 2-2, 2-4, 3-2, 3-3, 3-4, 3-5, 4-1-1, 4-1-1, 4-1-2, 4-1-3,
4-2, 4-2-1, 4-3, 4-4, and 4-4-1. These items, along with all items in this miscellaneous section
were deemed not to have any relevance to the conclusions reached by this explosives and
hazardous device examiner. However, the items may be part of other examinations and FBI
Laboratory reports.

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SUBMISSION 2 (Device 4)

Submission 2, labeled as Device 4, consisted of Items 5 through Item 9, addressed to Barrack
Obama, P.O. BOX 91000 Washington, D.C. 20066. This device was transported to the FBI

Explosives Unit and Rendered Safe at Charlie Demolition Range, Quantico, VA by FBI Bomb
Technicians.

MAIN CHARGE:

Powder (Item 7) was removed from the pipe nipple (Item 6) and chemical analysis of a powder
sample (Item 7-1) identified oxidizers and fuels that are commonly utilized in low explosive
pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item 7-1
reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 7-1. For detailed information on the
chemical analysis conducted on item 7-1, see the FBI Laboratory Report for Laboratory number
2018-03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

  

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(Figure 11 i, “Front of Item 5) y Figun 12, Back of Item 5)

 

Present in Item 5 (Figures 11 and 12) is one (1) manila envelope, with bubble wrap lining on the
inside. Information printed on the back indicates that it is a DuckBrand envelope with an inside
dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech Brands
LLC, AVON, OH 44011.

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The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

 

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(Figure 13, Item 6 P 6 Pipe : and fuzing system) (Figure 14, Item 6 Pipe and fuzing system)

 

Present in Item 6 (Figures 13 and 14) is one (1) white colored plastic pipe nipple with two (2)
end caps. The inner diameter of the pipe nipple measures approximately .0.81 inch with an
approximate outer diameter of 1.06 inches and an approximate length of 5.625 inches.
Information printed on the pipe nipple is as follows “...CH 40 PR 480 PSI @ 23 C NSFr PW-G
U.P. Code ASTM 01785 upc...”

The end caps are similar in dimensions measuring approximately 1.04 inches in length with an
outer diameter of approximately 1.29 inches and an approximate inner diameter of 1.03 inches.
The end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small hole made in each measuring
approximately 0.17 inch in diameter. The manufacturer information is as follows,
“CHARLOTTE, USA, ... 007, ... SCH 40, D-2466 PVC-1, NSF-pw”, “8” on end cap A and “1”
on end cap B. The holes in the end caps are commonly referred to as a priming hole, which
allows for insertion of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily containing the gases produced from the deflagration of the low explosive. An
explosion occurs as the container is overcome by the amount of pressure generated from the
deflagration of the low explosive. The resulting explosion would have resulted in pipe fragments
being propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

 

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(Figure 15, Ttem 6 Pi 6 Pipe and nd fuzing system) igure 16. Tem 6 Pipe and fuzing system)

 

 

 

 

   

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(Fi igure e 19, item 6 Pipe and fuzing system)

 

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An
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electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

As submitted, the Device 4 would not have functioned as a result of its design. The fuzing
system lacked the proper components and assembly to enable it to function as a method of
initiation for this device. It cannot be determined if the non-functional fuzing system is a result
of poor design or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 6 (Figures 15 through 18 and 20) are two (2) wires; one (1) red insulated wire
and one (1) black insulated wire. Both the black and red insulated wires are multi-strand copper
colored wire with an approximate measurement of 16 AWG. Wires, properly connected would
act as a conductor of energy for an IED.

Item 6 (Figures 15 through 20) had one (1) coiled up piece of solder which was attached on both

ends to the wires described above. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 6 (Figure 15) had one (1) black colored clock that was attached to the pipe nipple by Item
6-4 hook and loop tape. The clock had two holes made into its side. One red insulated wire and
one black insulated wire were inserted into opposite holes in the clock.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.453 inch in diameter and approximately 0.127 inch in height.
The potential measured voltage was 1.437 volts. The battery had the following markings on it,
“AGIO + 0.0% Hg CELL”, and is consistent with a LR 41 button type battery. A battery
properly connected could act a as power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 7-5-1 through 7-5-10 are small fragments of broken glass. These glass pieces
were inside the confinement container. Added hardened objects, such as glass, are referred to as

fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

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MISCELLANEOUS:

The following items were removed from the envelope (Item 5) and/or the pipe nipple with end
caps (Item 6) during examinations in the laboratory.

Items 5-1 through Item 5-6 are six (6) U.S. Postal stamps removed from Item 5.

{tem 5-7, is a piece of paper with the following information typed on it; “FROM: DEBBIE
WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Item 5-8, is a piece of paper with the following information typed on it; “TO: BARRACK
OBAMA, P.O. BOX 91000, WASHINGTON, D.C. 20066.

Item 6-2, are two (2) pieces of black tape varying lengths with a width of .75 inch.
Item 6-3, is one (1) piece of paper with a picture of a visual approximation of an ISIS flag on it.

Item 6-3-1, is one (1) picture of faces which appears to be representative of Barrack Obama’s
family.

Item 8 is one (1) manila envelope that contained powder and debris. A powder sample, Item 8-
1-1, was examined and deemed not energetic. For full analysis see the FBI Laboratory Report for
Laboratory number 2018-0324 1-3, dated November 7, 2018, authorized by Christine M. Marsh.
(CMM). Benign powders have been added to IEDs to simulate chemical or biological
enhancement.

The following items are varying pieces of evidence and were submitted under Submission 2;
Items 5-9, 6-1, 7-2, 7-3, 7-4, 8-1-2, 8-1-3, 8-2, and 9. These items, along with all items in this
miscellaneous section were deemed not to have any relevance to the conclusions reached by this
explosives and hazardous device examiner. However, the items may be part of other
examinations and FBI Laboratory reports.

SUBMISSION 3 (Device 1)
Submission 3, labeled as Device 1, consisted of Items 10 tthrough Item 28, addressed to George
Soros, 132 Cantitoe Street, Katonah, New York, 10536-3804. This Device was RSP’ ed by local

bomb squads in the New York Division. It is common to not recover all of the components of an
IED after an RSP because of the violent nature of the procedure on the IED.

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MAIN CHARGE:

A chemical analysis of a powder sample, Item 17, identified oxidizers and fuels that are
commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to flame,
one or more portions of Item 17 reacted energetically. Analysis also identified other chemicals
consistent with fertilizer components and commercially available pool shock in Item 17. Items
10, 11, 12, 14 and 28 were not analyzed due to the presence of bulk material in Item 17. Limited

analysis was conducted on Item 16-1 due to the small sample size and the presence of bulk
material in Item 17,

For detailed information on the chemical analysis conducted on these items, see the FBI

Laboratory Report for Laboratory number 2018-03241-3, dated November 7, 2018, authorized
by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

  

 
     

 

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(Figure 22, Back of Item 13)

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(Figure 21, Front of Item 13)

Present in Item 13 (Figures 21 and 22) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

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Confinement Container:

 

 

  
 
  

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(Figure 25, Item 26 remains of plastic pipe) Ci igure 26, Item is" remains of Pipe and fuzing system) |

Present in Items 15, 16, and 26 (Figures 23 through 26) are the remains of one (1) white colored
plastic pipe nipple with two (2) end caps. The pipe nipple had been separated by an RSP. The
inner diameter of the pipe nipple measures approximately 0.91 inch with an approximate outer
diameter of 1.08 inches. The length of the remaining part of the pipe nipple is approximately
2.42 inches. Information printed on the pipe nipple is as follows “TrueFit System 20...”. Part of
the pipe nipple Item 26, shown in (Figures 20 through 23), was fragmented due to the RSP.

The end caps had similar measurements of approximately 1.13 inches in length with an outer
diameter of approximately 1.29 inches and an approximate inner diameter of 1.03 inches. The
end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small hole made in each measuring
approximately 0.17 inch in diameter. The end caps had the following information on it;
“CHARLOTTE, U.S.A. ... % SCH 40 D-2466 PVC-1, NSF-pw”, “2” on end cap A and “12” on
end cap B. The holes are commonly referred to as a priming hole, which allows for insertion of a
fuzing system into the main charge container.

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The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

FUZING SYSTEM:

 

   

 

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(Figure 27, Item 16 Pipe and fuzing system) -

 

 

 

 

 

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(Figure 29, Item 16 S Pipe and fuzing system)

 

 

 

 

 

 

 

 

(Figure 31, item 16 Pipe and fuzing system) (figure 32, Ttem 16 Pipe and ‘fain system)

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A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

It should be noted that due to the RSP performed on the IED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This

leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 1 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 16 (Figures 27 through 32) are two (2) wires; one (1) red insulated wire and one
(1) black insulated wire. Both the black and red insulated wires are multi-strand copper colored
wire with an approximate measurement of 15 AWG. Wires, properly connected would act as a
conductor of energy for an IED.

Item 16 (Figures 27 through 32) had one (1) coiled up piece of solder that was separated due to
the RSP. The coiled wire was attached to the black insulated wire on one end and the red
insulated wire on the other end. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Items 13-12, 15, 17-3, 18-3, 24, and 24-1 (Figures 30 and 33) are the fragmented remains of one

(1) black colored clock that was attached to the pipe nipple. The remains of the clock had one
hole made into its side. The clock had one (1) red wire inserted into the side of the clock. The

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internal components of the clock were fragmented due to the RSP. The fragments pieces were
similar with the clock pieces from the other submission in this report. A clock properly
connected could act as a switch in an JED.

Item 21, one (1) “AGIO” battery that had not been altered. The battery was silver in color
measuring approximately 0.45 inch in diameter and approximately 0.132 inch in height. The
potential measured voltage was 1.03 volts. The battery is consistent with a LR 41 button type
battery. This battery was similar to the other battery submissions from the clock in this report. A
battery properly connected could act as a power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 17-1 through Item 17-1-12, and Items 20 through Item 20-5 are small fragments
of broken glass. Added hardened objects, such as glass, are referred to as fragmentation.
Fragmentation is added to IEDs to enhance physical damage to the surrounding area, and/or
injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope, the pipe nipple with end caps, or
miscellaneous fragments removed under this submission during examinations.

Items 13-2 through Item 13-7 are six (6) damage U.S. Postal stamps removed from Item 13.

Item 13-9, is one (1) piece of paper with the following information typed on it; “TO: GEORGE
SOROS 136 CANTITOE STREET KATONAH, NEW YORK 10536-3804”.

Item 13-10, is one (1) piece of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARK WAY, SUNRISE,
FLORIDS, 33325”.

Items 13-12-1, 15-1, 16-2, 16-4, 18-6 and 26-1 are pieces of black tape of varying lengths with a
width of .75 inch.

A powder sample, Item 13-1, was removed from the envelope and was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-
03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

Item 13-13, labeled as “A” in the laboratory, is a small piece of Item 13, one (1) manila
envelope.

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Item 16-2-1 and Item 23, are pieces of what appears to be one (1) picture that has several
individuals on it, one of the images appears to be representative of George Soros.

Items 16-3, and 18-7 are one (1) torn piece of paper with print on it that appears to a
representative attempt at Arabic writing.

Item 27, pieces of hook and loop tape.

The following items are varying pieces of evidence and were submitted under Submission 3;
Items 13-8, 13-11, 16-1-1, 16-2-1-1, 16-3-1, 17-2, 17-3, 18, 18-7-1, 18-1, 18-4, 18-5, 18-8, 19,
22, 22-1 and Item 25. These items, along with all items in this miscellaneous section were
deemed not to have any relevance to the conclusions reached by this explosives and hazardous

device examiner. However, the items may be part of other examinations and FBI Laboratory
reports.

SUBMISSION 4 (Device 8)

Submission 4, labeled as Device 8, consisted of Items 29 through Items 32-1-1, addressed to
Joseph Robinette Biden, Jr., Rockland Plaza, 1519 Rockland Rd., Wilmington, Delaware 19803.
This device was transported to the FBI Explosives Unit and Rendered Safe at Charlie Demolition
Range, Quantico, VA by FBI Bomb Technicians.

MAIN CHARGE:

Powder (Item 31) was removed from the pipe nipple (Item 30) and chemical analysis of a
powder sample (Item 31-1) identified oxidizers and fuels that are commonly utilized in low
explosive pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item
31-1 reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 31-1. For detailed information on the
chemical analysis conducted on item 31-1, see the FBI Laboratory Report for Laboratory number
2018-0324 1-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to

deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

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CONTAINER(S):

Concealment Container:

 

 

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(Fi igure 34, Front of item 39) , (Figure 35, Back of Item 29)

Present in Item 29 (Figures 34 and 35) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A
concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

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(Figure 36 36, Ttem 30 plastic pipe) (Figure 37, Trem 6 olastic pipe with 5 clock) -

Present in Item 30 (Figures 36 and 37) is one (1) white colored plastic pipe nipple with two (2)
end caps. The inner diameter of the pipe nipple measures approximately .0.92 inch with an
approximate outer diameter of 1.05 inches and an approximate length of 5.95 inches. Information
printed on the pipe nipple is as follows “FL TrueFit r System 20007 *%” PVC 1120 SDR 21 PR2”.

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The end caps are similar in dimensions measuring approximately 1.04 inches in length with an
outer diameter of approximately 1.30 inches and an approximate inner diameter of 1.06 inches.
The end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small hole made in each measuring
approximately 0.17 inch in diameter. The end caps had the following information on it:
“CHARLOTTE, USA, 447 007 %4 SCH 40, D-2466 PVC-1, NSF-pw”, “2” on both end caps (A
and B). The holes are commonly referred to as a priming hole, which allows for insertion of a
fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

FUZING SYSTEM:

 

 

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(Figure 38, Item 30 X-Ray of pipe and fuzing system)

 

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(figure ‘40, Item 30 50 Dine and fuzing system) (Fi igure vie item 30 Pipe and fuzing system)

 

 

 

 

 

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- igure 42, Item 30 Pipe and fuzing system) (Figure 43, Item - 30 Pipe and fuzing system)

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

As submitted, the Device 8 would not have functioned as a result of its design. The fuzing
system lacked the proper components and assembly to enable it to function as a method of
initiation for this device. It cannot be determined if the non-functional fuzing system is a result
of poor design or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 30 (Figures 38 through 43) are two (2) wires; one (1) red insulated wire and one
(1) black insulated wire. Both the black and red insulated wires are multi-strand copper colored
wire with an approximate measurement of 15 AWG. Wires, properly connected would act as a
conductor of energy for an JED.

Item 30 (Figures 38 through 41 and 43) had one (1) coiled up piece of solder that was attached
on both ends to the wires described above. The coiled up solder was on the inside of the pipe.
Thin wires, referred to as bridge wires, are utilized in IED’s to restrict electrical current and
generate the heat needed to initiate a low explosive. Solder is not an efficient material to be
utilized in this manner.

Item 30 (Figures 38 through 41) had one (1) black colored clock that was attached to the pipe
nipple by Item 30-6 hook and loop tape. The clock had two holes made into its side. One red
insulated wire and one black insulated wire were inserted into opposite holes in the clock.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

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The battery in the clock was an “AGJO” battery and had not been altered. The battery was silver
in color measuring approximately 0.450 inch in diameter and approximately 0.126 inch in height.
The potential measured voltage was 1.4 volts. The battery had the following markings on it,
“AGIO + 0.0% Hg CELL”; and is consistent with a LR 41 button type battery. A battery
properly connected could act as a power source for an IED.

IED ENHANCEMENTS:
Fragmentation:

Present in Items 31-2 through 31-11 are small fragments of broken glass. These glass pieces
were inside the confinement container. Added hardened objects, such as glass, are referred to as
fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 29) and/or the pipe nipple with end
caps (Item 30) during examinations in the laboratory.

Items 29-3 through Item 29-8 are six (6) U.S. Postal stamps removed from Item 29.

Item 29-1, is a piece of paper with the following information typed on it; “TO JOSEPH
ROBINETTE BIDEN JR., ROCKLAND PLAZA, 1519 ROCKLAND RD., WILMINGTON,
DELAWARE 19803”.

Item 29-2, is a piece of paper with the following information typed on it; “FROM: DEBBIE
WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARK WAY, SUNRISE,
FLORIDS, 33325”.

Item 30-2, is one (1) picture of faces which appears to be representative of Joseph Biden and his
Wife, Jill Biden.

Item 30-3, is one (1) piece of paper with a picture of a visual approximation of an ISIS flag on it.

Item 30-4, is one (1) picture of faces which appears to be representative of Beau Biden and his
family.

Item 30-5, are two (2) pieces of black tape varying lengths with a width of .75 inch.
Item 32 is one (1) manila envelope that contained powder and debris. A powder sample, Item

32-1, was removed from the envelope and a sub-sample, Item 32-1-1, was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-

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03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 4;
Items 29-9, 30-1, and 30-1-1. These items, along with all items in this miscellaneous section
were deemed not to have any relevance to the conclusions reached by this explosives and
hazardous device examiner. However, the items may be part of other examinations and FBI
Laboratory reports.

SUBMISSION 5 (Device 9)

Submission 5, labeled as Device 9, consisted of Items 33 through Items 36-2, addressed to
Joseph Robinette Biden, Jr., Rockland Plaza, 1519 Rockland Rd., Wilmington, Delaware 19807.
This device was transported to the FBI Explosives Unit and Rendered Safe at Charlie Demolition
Range, Quantico, VA by FBI Bomb Technicians.

MAIN CHARGE:

Powder (Item 35) was removed from the pipe nipple (Item 34) and chemical analysis of a

powder sample (Item 35-1) identified oxidizers and fuels that are commonly utilized in low
explosive pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item
35-1 reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 35-1. For detailed information on the
chemical analysis conducted on Item 35-1, see the FBI Laboratory Report for Laboratory number
2018-03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

 

 

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Giigure 44, Front of item 733) ~ —— (Figure “45. Back of It Item 33),

 

 

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Present in Item 33 (Figures 44 and 45) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an

inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
TED.

Confinement Container:

 

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(Figure 46, Item 34 Pipe and fuzing system)

 

 

(Figure 47, Item 34 Pipe and fuzing system

Present in Item 34 (Figures 46 and 47) is one (1) white colored plastic pipe nipple with two (2)
end caps. The inner diameter of the pipe nipple measures approximately .0.92 inch with an
approximate outer diameter of 1.03 inches and an approximate length of 4.875 inches.
Information printed on the pipe nipple is as follows “www.charlottepipe.com” and
“°CHARLOTTE”.

The end caps are similar in dimensions measuring approximately 1.06 inches in length with an
outer diameter of approximately 1.30 inches and an approximate inner diameter of 1.06 inches.
The end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small hole made in each measuring
approximately 0.17 inch in diameter. The end caps had the following information on it of
“CHARLOTTE, USA, 447 007 % SCH 40, D-2466 PVC-1, NSF-pw”, “14” on end cap A and
“2” on end cap B. The holes made in the end caps are commonly referred to as a priming hole,
which allows for insertion of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

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(Figure 50, Item 34 Pipe and fuzing system)

 

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(Figure 51, Item 34 Pipe and fuzing system)

 

  

 

 

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(Figure 52, Item 34 Pipe and fuzing system)

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(Figure 3 item 34 Pipe and fuzing system)

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2018-03241 Item 34}

(Figure 54, Item 34 X-Ray of pipe and fuzing system)

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

As submitted, the Device 9 would not have functioned as a result of its design. The fuzing
system lacked the proper components and assembly to enable it to function as a method of
initiation for this device. It cannot be determined if the non-functional fuzing system is a result
of poor design or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 34 (Figures 48 through 54) are two (2) wires; one (1) red insulated wire and one
(1) black insulated wire. Both the black and red insulated wires are multi-strand copper colored
wire with an approximate measurement of 15 AWG. Wires, properly connected would act as a
conductor of energy for an IED.

Item 34 (Figures 48 through 54) had one (1) coiled up piece of solder that was attached on both

ends to the wires described above. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 34 (Figures 48 through 51 and 54) had one (1) black colored clock that was attached to the
pipe nipple by Item 34-6 hook and loop tape. The clock had two holes made into its side. One
red insulated wire and one black insulated wire were inserted into opposite holes in the clock.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A

clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides

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of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an JED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.452 inch in diameter and approximately 0.122 inch in height.
The potential measured voltage was 1.5 volts. The battery had the following markings on it,
“AGIO + 0.0% Hg CELL”; and is consistent with a LR 41 button type battery. A battery
properly connected could act as a power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 35-2 through 35-11 are small fragments of broken glass. These glass pieces
were inside the confinement container. Added hardened objects, such as glass, are referred to as
fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 33) and/or the pipe nipple with end
caps (Item 34) during examinations in the laboratory.

Items 33-1 through Item 33-6 are six (6) U.S. Postal stamps removed from Item 33.

Item 33-7, is a piece of paper with the following information typed on it; “TO JOSEPH
ROBINETTE BIDEN JR., 1209 BARLEY MILL RD., WILMINGTON, DELAWARE 19807”.

Item 33-8, is a piece of paper with the following information typed on it; “FROM: DEBBIE
WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Item 34-2, is one (1) picture of faces which appears to be representative of Beau Biden and his
family.

Item 34-3, is one (1) piece of paper with a picture of a visual approximation of an ISIS flag on it.

Item 34-4, is one (1) picture of faces which appears to be representative of Joseph Biden, Jill
Biden and his daughter.

Item 34-5, are two (2) pieces of black tape varying lengths with a width of .75 inch.
Item 36 is one (1) manila envelope that contained powder and debris. A powder sample 36-1

was removed from the envelope and a sub-sample, Item 36-1-1, was examined and deemed not
energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-03241-3,

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dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders have been
added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 5;
Items 33-9, 33-9-1, 33-10, 34-1, 34-7, 34-7-1, 34-7-2, and 36-2. These items, along with all
items in this miscellaneous section were deemed not to have any relevance to the conclusions
reached by this explosives and hazardous device examiner. However, the items may be part of
other examinations and FBI Laboratory reports.

SUBMISSION 6 (Device 3)

Submission 6, labeled as Device 3, consisted of Items 37 through Item 38-1] and Items 86
through Item 90-5, addressed to John Brenan, Time warner (CNN), 10 Columbus Circle, New
York, NY, 10019. This device was transported to the FBI Explosives Unit and Rendered Safe at
Charlie Demolition Range, Quantico, VA by FBI Bomb Technicians.

MAIN CHARGE:

Powder (Item 38) was removed from the pipe nipple (Item 37) and chemical analysis of a
powder sample (Item 38-1) identified oxidizers and fuels that are commonly utilized in low
explosive pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item
38-1 reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 38-1. For detailed information on the
chemical analysis conducted on Item 38-1, see the FBI Laboratory Report for Laboratory number
2018-03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to

deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

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CONTAINER(S):

Concealment Container:

 

 

     
     
 
   
   

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(Figure 5 35, Front of Ttem 86) (Figure 56, “Back of Item 86)

Present in Item 86 (Figures 55 and 56) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A
concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

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(Figure 57, Item 37 Pipe 2 and ‘d fusing system) (Figure 58, Item 7 Pipe and fuzing system)

Present in Item 37 (Figures 57 and 58) is one (1) white colored plastic pipe nipple with two (2)
end caps. The inner diameter of the pipe nipple measures approximately .0.90 inch with an
approximate outer diameter of 1.05 inches and an approximate length of 5.33 inches. Information
printed on the pipe nipple is as follows “1 PR200 PSI @ 23 c NSFrPW-G U.P.C.”.

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The end caps are similar in dimensions measuring approximately 1.03 inches in length with an
outer diameter of approximately 1.31 inches and an approximate inner diameter of 1.04 inches.
The end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small hole made in each measuring
approximately 0.17 inch in diameter. The end caps had the following information on it,
“CHARLOTTE, USA, 447 007 % SCH 40, D-2466 PVC-1, NSF-pw”, “10” on end cap A and
“8” on end cap B. These holes are commonly referred to as a priming hole, which allows for
insertion of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

FUZING SYSTEM:

 

 

 

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(Figure 63, Trem 37 Pipe and fuzing system)

 

 

 

 

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(Fi igure 63, Item 37. Pipe and fuzing system)

 

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(Figure 65, Item 37 Pipe and i faving system) (Figure 66, Item 37 X-Ray of pipe and fuzing system) |

 

 

 

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An
electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

As submitted, the Device 3 would not have functioned as a result of its design. The fuzing
system lacked the proper components and assembly to enable it to function as a method of
initiation for this device. It cannot be determined if the non-functional fuzing system is a result
of poor design or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 37 (Figures 59 through 66) are two (2) wires; one (1) red insulated wire and one
(1) black insulated wire. Both the black and red insulated wires are multi-strand copper colored
wire with an approximate measurement of 15 AWG. Wires, properly connected would act as a

conductor of energy for an IED.

Item 37 (Figures 59 through 66) had one (1) coiled up piece of solder that was attached on both
ends to the wires described above. The coiled up solder was on the inside of the pipe. Thin wires,
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referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 37 (Figures 59 through 63 and 66) had one (1) black colored clock that was attached to the
pipe nipple by Item 37-3 hook and loop tape. The clock had two holes made into its side. One
red insulated wire and one black insulated wire were inserted into opposite holes in the clock.

The clock measures approximately 3 inches by |.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.452 inch in diameter and approximately 0.121 inch in height.
The potential measured voltage was 1.4 volts. The battery had the following markings on it,
“AGIO + 0.0% Hg CELL”, and is consistent with a LR 41 button type battery. A battery
properly connected could act a power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 38-2 through 38-11 are small fragments of broken glass. These glass pieces
were inside the confinement container. Added hardened objects, such as glass, are referred to as
fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 86) and/or the pipe nipple with end
caps (Item 37) during examinations in the laboratory.

Item 37-1, is various pieces of black tape varying lengths with a width of .75 inch,
Item 37-2-1, is one (1) picture of a face, which appears to be representative of John O. Brennan.

Item 37-2-2, is one (1) piece of paper with a picture of a visual approximation of an ISIS flag on
it, but it actually has “GET ER DONE” on it.

Items 86-1-7 through Item 86-6 are six (6) U.S. Postal stamps removed from Item 86.

Item 86-7, is a piece of paper with the following information typed on it; “TO: JOHN BRENAN,
TIME WARNER (CNN), 10 COLUMBUS CIRCLE, NEW YORK, NY 100019”.

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Item 86-8, is a piece of paper with the following information typed on it; “FROM: DEBBIE
WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Item 87 is one (1) manila envelope that contained powder and debris. A powder sample Item 88
was removed from the envelope was examined and deemed not energetic. For full analysis see
the FBI Laboratory Report for Laboratory number 2018-0324 1-3, dated November 7, 2018,
authorized by Christine M. Marsh. (CMM). Benign powders have been added to JEDs to
simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 6;
Items 37-2, 86-9, 87-1, and 88-1 are varying pieces of evidence. These items, along with all
items in this miscellaneous section were deemed not to have any relevance to the conclusions
reached by this explosives and hazardous device examiner. However, the items may be part of
other examinations and FBI Laboratory reports.

SUBMISSION 7 (Device 10)

Submission 7, labeled as Device 10, consisted of Items 39 through Items 42-2, addressed to
Robert De Niro, Tribeca Productions, 375 Greenwich Street, New York, N.Y. 10013. This
device was transported to the FBI Explosives Unit and Rendered Safe at Charlie Demolition
Range, Quantico, VA by FBI Bomb Technicians.

MAIN CHARGE:

Powder (Item 41) was removed from the pipe nipple (Item 40) and chemical analysis of a
powder sample (Item 41-1) identified oxidizers and fuels that are commonly utilized in low
explosive pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item
41-1 reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 41-1. For detailed information on the
chemical analysis conducted on Item 41-1, see the FBI Laboratory Report for Laboratory number
2018-03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to

deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

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CONTAINER(S):

Concealment Container:

 

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(Figure 67, Front of Item 39) (Figure 68, Back of Item 39)

Present in Item 39 (Figures 67 and 68) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A
concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Figure 69, “Ttem 40 Pipe with fazing system) (Figure 70, Trem 40 Pipe with faring sem)

Present in Item 40 (Figures 69 and 70) is one (1) white colored plastic pipe nipple with two (2)
end caps. The inner diameter of the pipe nipple measures approximately .0.93 inch with an
approximate outer diameter of 1.06 inches and an approximate length of 4.625 inches.
Information printed on the pipe nipple is as follows “PVC 1120 SDR 21 PR200 PSI @ 23...”.

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The end caps are similar in dimensions measuring approximately 1.03 inches in length with an
outer diameter of approximately 1.31 inches and an approximate inner diameter of 1.04 inches.
The end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small hole made in each measuring
approximately 0.17 inch in diameter. The end caps had the following information on it,
“CHARLOTTE, USA, 447 007 % SCH 40, D-2466 PVC-1, NSF-pw”, “15” on end cap A and
“7” on end cap B. The holes are commonly referred to as a priming hole, which allows for
insertion of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

FUZING SYSTEM:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(Figure 73, Item 40 Pipe and fuzing system) (Fi igure 74, Trem 40 Pine and “d fusing system)
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(Figure 76, Item 40 X-Ray of Pipe and 2 sy
A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

As submitted, Device 10 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 40 (Figures 71 through 76) are two (2) wires; one (1) red insulated wire and one
(1) black insulated wire. Both the black and red insulated wires are multi-strand copper colored
wire with an approximate measurement of 15 AWG. Wires, properly connected would act as a
conductor of energy for an JED.

Item 40 (Figures 71 through 76) had one (1) coiled up piece of solder that was attached on both

ends to the wires described above. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 40 and 40-4 (Figures 71 through 74 and 76), had pieces of one (1) black colored clock that
was attached to the pipe nipple by Item 40-3 hook and loop tape. The clock had two holes made
into its side. One red insulated wire and one black insulated wire were inserted into opposite
holes in the clock.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

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The battery in the clock was an “AGJO” battery and had not been altered. The battery was silver
in color measuring approximately 0.454 inch in diameter and approximately 0.124 inch in height.
The potential measured voltage was 1.5 volts. The battery had the following markings on it,
“AGIO + 0.0% Hg CELL”, and is consistent with a LR 41 button type battery. A battery
properly connected could act a power source for an JED.

TIED ENHANCEMENTS:

Fragmentation:

Present in Items 41-2 through 41-11 are small fragments of broken glass. These glass pieces
were inside the confinement container. Added hardened objects, such as glass, are referred to as
fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 39) and/or the pipe nipple with end
caps (Item 40) during examinations in the laboratory.

Item 39-1, is a piece of paper with the following information typed on it; “TO: ROBERT DE
NIRO, TRIBECA PRODUCTIONS, 325 GREENWICH STREET, NEW YORK, N.Y. 10013”.

Item 39-2, is a piece of paper with the following information typed on it; “FROM: DEBBIE
WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Items 39-3 through Item 39-8 are six (6) U.S. Postal stamps removed from Item 39.
Item 40-1, is two (2) various pieces of black tape varying lengths with a width of .75 inch.
Item 40-2-1, is one (1) picture of a face, which appears to be representative of Robert De Niro.

Item 40-2-2, is one (1) piece of paper with print on it as follows, “reserves the right to publish his
identity, CNN, should any of that change”.

Item 42 is one (1) manila envelope that contained powder and debris. A powder sample, Item
42-1, was removed from the envelope and a sub-sample, Item 42-1-1, was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-
03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 7;

Items 39-9, 40-2, and 42-2. These items, along with all items in this miscellaneous section were
deemed not to have any relevance to the conclusions reached by this explosives and hazardous

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device examiner. However, the items may be part of other examinations and FBI Laboratory
report.

SUBMISSION 8 (Device 2)

Submission 8, labeled as Device 2, consisted of Items 43 through Item 46-2, addressed to Hilary
Clinton 15 Old House Lane, Chappaqua, New York 10514. This device was transported to the
FBI Explosives Unit and Rendered Safe at Charlie Demolition Range, Quantico, VA by FBI
Bomb Technicians.

MAIN CHARGE:

Powder (Item 45) was removed from the pipe nipple (Item 44) and chemical analysis of a
powder sample (Item 45-1) identified oxidizers and fuels that are commonly utilized in low
explosive pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item
45-1 reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 45-1. For detailed information on the
chemical analysis conducted on Item 45-1, see the FBI Laboratory Report for Laboratory number
2018-03241 -3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

 

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(Figure 77, Front of Item item 43) (Figure 78, Back of Item 43)

 

 

 

 

 

 

 

Present in Item 43 (Figures 77 and 78) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011).

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The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

  
  

 

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(Figure 79, Item 44 Pipe and fuzing system) (Figure 80, Item 44 Pipe and d fuzing system)

 

 

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Present in Item 44 (Figures 79 and 80) is one (1) white colored plastic pipe nipple with two (2)
end caps. The inner diameter of the pipe nipple measures approximately 0.93 inch with an
approximate outer diameter of 1.06 inches and an approximate length of 5.75 inches. Information
printed on the pipe nipple is as follows “CP-110-P MADE IN U.S.A. 04/17/17 21:32”.

The end caps are similar in dimensions measuring approximately 1.05 inches in length with an
outer diameter of approximately 1.30 inches and an approximate inner diameter of 1.04 inches.
The end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small hole made in each measuring
approximately 0.18 inch in diameter. The end caps had the following information on it,
“CHARLOTTE, USA..., .07 % SCH 40, D-2466 PVC-1, NSF-pw”, “11” on end cap A and “13”
on end cap B. The holes in the end caps are commonly referred to as a priming hole, which
allows for insertion of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

 

 

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(Figure 82, Item 44 Pipe and fuzing syste system)

 

 

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(Figure 851 Item 44 Pipe and fu fusing system) (Figure 86, Ttem 44 Pine and fuzing system)

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(Figure 87, Item 44 X-Ray Pipe and fuzing system)

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

As submitted, the Device 2 would not have functioned as a result of its design. The fuzing
system lacked the proper components and assembly to enable it to function as a method of
initiation for this device. It cannot be determined if the non-functional fuzing system is a result
of poor design or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 44 (Figures 81 through 87) are two (2) wires; one (1) red insulated wire and one
(1) black insulated wire. Both the black and red insulated wires are multi-strand copper colored
wire with an approximate measurement of 15 AWG. Wires, properly connected would act as a
conductor of energy for an IED.

Item 44 (Figures 81 through 85 and 87) had one (1) coiled up piece of solder that was attached
on both ends to the wires described above. The coiled up solder was on the inside of the pipe.
Thin wires, referred to as bridge wires, are utilized in IED’s to restrict electrical current and
generate the heat needed to initiate a low explosive. Solder is not an efficient material to be
utilized in this manner.

Item 44 (Figures 81 through 84 and 87) had one (1) black colored clock that was attached to the
pipe nipple by hook and loop tape. The clock had two holes made into its side. One red insulated
wire and one black insulated wire were inserted into opposite holes in the clock.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

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The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.452 inch in diameter and approximately 0.120 inch in height.
The potential measured voltage was 1.4 volts. The battery had the following markings on it,
“AGIO + 0.0% Hg CELL”, and is consistent with a LR 41 button type battery. A battery
properly connected could act a power source for an IED.

IED ENHANCEMENTS:
Fragmentation:

Present in Items 45-1 through 45-11 are small fragments of broken glass. These glass pieces
were inside the confinement container. Added hardened objects, such as glass, are referred to as
fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 43) and/or the pipe nipple with end
caps (Item 44) during examinations in the laboratory.

Item 43-10, is a piece of paper with the following information typed on it; “TO: HILARY
CLINTON, 15 OLD HOUSE LANE, CHAPPAQUA, NEW YORK, N.Y. 10013”.

Item 43-7 and 43-8, are two pieces of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Items 43-1 through Item 43-6 are six (6) U.S. Postal stamps removed from Item 43.
Item 44-2, is one (1) picture of four faces that appear to be representative of the Clinton family.

Item 44-3, is one (1) piece of paper with print on it that appears to a representative attempt at
Arabic writing.

Item 44-4, is three (3) various pieces of black tape varying lengths with a width of .75 inch.

Item 46 is one (1) manila envelope that contained powder and debris. A powder sample, Item
46-1, was removed from the envelope and a sub-sample, Item 46-1-1, was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-
03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 8;

Items 43-9, 43-11, 44-1, and 46-2. These items, along with all items in this miscellaneous section
were deemed not to have any relevance to the conclusions reached by this explosives and

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hazardous device examiner. However, the items may be part of other examinations and FBI
Laboratory reports.

SUBMISSION 9 (Device 7)

Submission 9, labeled as Device 7, consisted of Items 47 through Items 54, addressed to Eric
Himpton Holder, Covington and Bu...., One City Center, 850 Tenth N.W., Washington, D.C.
200... This Device was RSP’ed by local bomb squads in the Miami Division. It is common to not
recover all of the components of an IED after an RSP because of the violent nature of the
procedure on the IED.

MAIN CHARGE:

A chemical analysis of a powder sample (Item 52) identified oxidizers and fuels that are
commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to flame,
one or more portions of Item 52 reacted energetically. Analysis also identified other chemicals
consistent with fertilizer components and commercially available pool shock in Item 52. Items
53 and 54, were not analyzed due to the presence of bulk material in Item 52.

For detailed information on the chemical analysis conducted on Item 52, see the FBI Laboratory
Report for Laboratory number 2018-03241-3, dated November 7, 2018, authorized by Christine
M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, Jow explosives are designed to

deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

 

   

 

 

 

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(Figure 89, Remains of Item 48 Front/Back)

 

Present in Item 48 (Figures 88 and 89) is the remains of two (2) manila envelopes. The envelope
has been damaged due to the RSP performed. One (1) of the envelopes is the remains ofa
routing envelope used by the U.S. House of Representative and not part of the device. The

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second envelope is part of the Device described below. The second envelope has bubble wrap
lining on the inside. Information printed on the back indicates that it is a DuckBrand envelope
with a partial bar code of ..... 39560.

The DuckBrand envelope served not only as the shipping envelope, but also the concealment

container. A concealment container hides the components of the IED so unsuspecting victim(s)
cannot see the JED.

Confinement Container:

 

 

   
      
 
         
       
    
 
 
 
  
 

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(Figure 90, Item 47 Pipe and fuzing system) (Figure 91, Item 47 re

Present in Item 47 (Figures 90 and 91) are the remains of one (1) white colored plastic pipe
nipple with two (2) end caps. The inner diameter of the remaining pipe nipple (Figure 83)
measures approximately 0.85 inch with an approximate outer diameter of 1.06 inches and an
approximate length of 3.50 inches. Information printed on the pipe nipple is as follows “EXT.
....IL....MN...ww”. The fragmented part of the pipe is shown in Figure 84, no manufacture
information could be obtained due to the condition of the pieces from the RSP.

The end cap (Figure 90) measures approximately 1.03 inches in length with an outer diameter of
approximately |.31 inches and an approximate inner diameter of 1.04 inches. The end cap had
the following information on it “CHARLOTTE, USA 447, 00. % SCH 40, D-2466 PVC-1, NSF-
pw”, and “12” on end cap A. The end cap had one small hole in it with a diameter measuring
approximately 0.19 inch. These holes are commonly referred to as a priming hole, which allows
for insertion of a fuzing system into the main charge container. The second end cap, labeled B
(Figure 91) is fragmented and no manufactured information could be obtained due to the RSP.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

 

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(Figure 92, Item 47 Pipe and fuzing system) " (Figure 93, Item 47 Pipe and fuzing system)

 

 

 

  
  

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(Figure 94, Item 47 Pipe and fuzing system) -

 

 

fuzing system)

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An
electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

The required components for an electrical fuzing system were present in the submitted items. It
should be noted that due to the RSP performed on the JED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This
leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 7 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

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Conductors, Power source and Switch:

Present in Item 47 (Figures 92 through 94) are two (2) wires; one (1) red insulated wire and one
(1) black insulated wire. Both the black and red insulated wires are multi-strand copper colored

wire with an approximate measurement of 15 AWG. Wires, properly connected would act as a
conductor of energy for an IED,

Item 47 (Figures 92 through 94) had pieces of solder, some pieces that were still attached on both
ends to the wires described above. The solder was logically on the inside of the pipe due to
similarities of construction with the other submitted items. Thin wires, referred to as bridge
wires, are utilized in IED’s to restrict electrical current and generate the heat needed to initiate a
low explosive. Solder is not an efficient material to be utilized in this manner.

Item 50 (Figure 95) are the fragmented remains of one (1) black colored clock that had a hook
and loop tape piece with it. A clear plastic, factory printed sticker, with the numbers “11:35”,
was also submitted. The clock had no manufacturer markings. A clock properly connected could
act as a switch in an JED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.44 inch in diameter and approximately 0.116 inch in height.
The potential measured voltage was 1.4 volts. The battery had rust on it masking other
manufacturer’s information. The battery is consistent with a LR 41 button type battery. A
battery properly connected could act a power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 52-2 through 52-8 are small fragments of broken glass. Added hardened objects,
such as glass, are referred to as fragmentation. Fragmentation is added to IEDs to enhance
physical damage to the surrounding area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the pipe nipple with end caps (Item 47) and/or the
envelope (Item 48) during examinations in the laboratory.

Items 47-1 and 49-1, are multiple pieces of black tape varying Jengths with a width of .75 inch.
Item 47-3, is one (1) picture of a face that appear to be representative of Eric Holder.

Items 47-4 and 49-4, are pieces of paper with print on it that appears to a representative attempt
at Arabic writing.

Items 48-1 through Item 48-6 are six (6) U.S. Postal stamps removed from Item 48.

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Item 48-7, is two pieces of paper with the following information typed on it; “FROM: DEBBIE
WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Item 48-8, is a piece of paper with the following information typed on it; “TO: ERIC HIMPTON
H.LDER, COVINGTON AND BU..., ONE CITY CENTER 850 TENTH N.W.,
WASHINGTON, D.C., 200..”.

Items 49-3, 50-1 and 50-5, are pieces of hook and loop tape.

The following items are varying pieces of evidence and were submitted under Submission 9;
Items 47-2, 48-9, 48-10, 48-10-1, 48-10-2, 48-11, 48-12, 49-2, 50-2, 51, and 52-1. These items,
along with all items in this miscellaneous section were deemed not to have any relevance to the
conclusions reached by this explosives and hazardous device examiner. However, the items may
be part of other examinations and FBI Laboratory reports.

SUBMISSION 10 (Device 11)

Submission 10, labeled as Device] 1, consisted of Items 55 through Items 58-4, addressed to
Cory Booker, 2 Riverside, Camden, New Jersey 08103. This Device was RSP’ed by local bomb
squads in the Miami Division. It is common to not recover all of the components of an IED after
an RSP because of the violent nature of the procedure on the IED.

MAIN CHARGE:

A chemical analysis of a powder sample (Item 55) identified oxidizers and fuels that are
commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to flame,
one or more portions of Item 55 reacted energetically. Analysis also identified other chemicals
consistent with fertilizer components and commercially available pool shock in Item 55. For
detailed information on the chemical analysis conducted on Item 55, see the FBI Laboratory
Report for Laboratory number 2018-03241-3, dated November 7, 2018, authorized by Christine
M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to

deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

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CONTAINEK(S):

Concealment Container:

 

  
    

   
     
   
  

  

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(Figure 96, Front OF Item = Sy (igure ¢ 7, Back of Item 57)

Present in Item 57 (Figures 96 and 97) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

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(Figure 98, Ttem 58 remains of plastic pipe tem) (Fig igure 99, Item 58 remains of plastic Sipe

Present in Item 58 (Figures 98 and 99) are the remains of one (1) white colored plastic pipe
nipple with two (2) end caps. The inner diameter of the pipe nipple measures approximately 0.93
inch with an approximate outer diameter of 1.00 inches and an approximate length of 3.78
inches. Information printed on the pipe nipple is as follows “... 17/17 21:32 EXT #4L MN....”.

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The fragmented part of the pipe is shown in Figure 98, no manufacture information could be
obtained due to the condition of the pieces from the RSP.

The end cap in Figure 99 measures approximately 1.00 inches in length with an outer diameter of
approximately 1.25 inches and an approximate inner diameter of 1.05 inches. The end cap had
the following information on it “CHARLOTTE, U.. 447, ... % SCH 40, D-2466 PVC-i, NSF-
pw”, and “5” on it. The intact end cap had one small hole in it with a diameter measuring
approximately 0.18 inch. These holes are commonly referred to as a priming hole, which allows
for insertion of a fuzing system into the main charge container. The second end cap in Figure 98
is fragmented and no manufactured information could be obtained due to the RSP.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

FUZING SYSTEM:

 

 

 

 

  
 

 

 

 

 

 

 
 

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(Figure 101, Item 58 Pipe ar and ‘azine Siem)

 

  
 

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(Figure 102, item 58 Pipe and fazing system) i igure 103, tem 5 8 Pipe and Tfasise system)

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A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

The required components for an electrical fuzing system were present in the submitted items. It
should be noted that due to the RSP performed on the IED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This

leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 1] would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 58 (Figures 100 through 103) is one (1) black insulated wire. The black insulated
wire is a multi-strand copper colored wire with an approximate measurement of 15 AWG. Wires,
properly connected would act as a conductor of energy for an IED. It should be noted that no red
insulated wire was submitted which would be consistent with the other devices.

Item 58 (Figures 100 through 103) had pieces of solder, some pieces were still attached to the
wire described above. The solder was on the inside of the pipe. Thin wires, referred to as bridge
wires, are utilized in IED’s to restrict electrical current and generate the heat needed to initiate a
low explosive. Solder is not an efficient material to be utilized in this manner.

Item 58 (Figures 100 through 103) had one (1) black colored clock that was attached to the pipe
nipple by hook and loop tape. The clock had two holes made into its side. The clock had one (1)
black wire inserted the side of the clock and was not attached to the power source (battery) or
any wires leading to a power source.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. A clock properly connected could act as a
switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.45 inch in diameter and approximately 0.118 inch in height.
The potential measured voltage was 1.4 volts. The battery had rust on it masking the
manufacturer’s information. The battery is consistent with a LR 41 button type battery. A
battery properly connected could act a power source for an IED.

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IED ENHANCEMENTS:

Fragmentation:

Present in Items 55-2 through 55-11 are small fragments of broken glass. Added hardened
objects, such as glass, are referred to as fragmentation. Fragmentation is added to IEDs to
enhance physical damage to the surrounding area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 57) and/or the pipe nipple with end
caps (Item 58) during examinations in the laboratory.

Item 57-1, is one (1) piece of paper with the following information typed on it; “TO: CORY
BOOKER, 2 RIVERSIDE, CAMDEN, NEW JERSEY, 08103”.

Item 57-2, is one (1) piece of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARK WAY, SUNRISE,
FLORIDS, 33325”.

Items 57-3 through Item 57-8 are six (6) U.S. Postal stamps removed from Item 57.

Items 58-2, is one (1) piece of paper with print on it that appears to a representative attempt at
Arabic writing.

Item 58-2-1, is one (1) picture of three faces, with one of the faces that appear to be
representative of Cory Booker.

Item 58-3, are pieces of black tape varying lengths with a width of .75 inch.

Item 56 is one (1) manila envelope that contained powder and debris. A powder sample, Item
56-1, was removed from the envelope and a sub-sample, Item 56-1-1, was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-
03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 10;
Items 55-1, 56-1-2, 57-9, 58-1 and 58-4. These items, along with all items in this miscellaneous
section were deemed not to have any relevance to the conclusions reached by this explosives and
hazardous device examiner. However, the items may be part of other examinations and FBI
Laboratory reports.

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SUBMISSION 11 (Device 6)

Submission 11, labeled as Device 6, consisted of Items 59 through Item 64-2, addressed to
Maxim Waters, 10124 South Broadway #1, Los Angeles, California 90003. This Device was
RSP’ed by local bomb squads in the Los Angeles Division. It is common to not recover all of the
components of an IED after an RSP because of the violent nature of the procedure on the IED.

MAIN CHARGE:

A chemical analysis of a powder sample (Item 61) identified oxidizers and fuels that are
commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to flame,
one or more portions of Item 61 reacted energetically. Analysis also identified other chemicals
consistent with fertilizer components and commercially available pool shock in Item 61. For
detailed information on the chemical analysis conducted on Item 61, see the FBI Laboratory
Report for Laboratory number 2018-03241-3, dated November 7, 2018, authorized by Christine
M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

 
    
     
 
 
 

 

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(Figure 104, Front of Item 63) (Figure

Present in Item 63 (Figures 104 and 105) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

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The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

 

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Figure 106, ‘Trem 62 Pipe and fuzing system) Gat 107, item 62 Pipe and faving S wae

Present in Item 62 (Figures 106 and 107) are the remains of one (1) white colored plastic pipe
nipple with two (2) end caps. The inner diameter of the pipe nipple measures approximately 0.93
inch with an approximate outer diameter of 1.00 inches and an approximate length of 5.08
inches. Information printed on the pipe nipple is as follows “20 SDR 21 PR200 PSI @ 23...”
The fragmented part of the pipe did not have and manufacture information due to the condition
of the remains from the RSP.

The intact end cap, (Figures 106 and 107), measures approximately 1.00 inches in length with an
outer diameter of approximately 1.29 inches and an approximate inner diameter of 1.03 inches.
The end cap had the following information on it “CHARLOTTE, ..., 44. .07, % SCH 40, D-2466
PVC-1, NSF-pw”, and “9” on the end cap. The intact end cap had one small hole in it with a
diameter measuring approximately 0.18 inch. These holes are commonly referred to as a priming
hole, which allows for insertion of a fuzing system into the main charge container. The second
end cap, (Figures 106 and 107) is fragmented and no manufactured information could be
obtained due to the RSP.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

 

 

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(Figure 108, ‘Tem 62 Pipe and Tfuing syatem) igure 109, Ttem 62 Pipe and hone system)

  
   

 

 

 

 

 

 

 

 

 

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(Fi igure 110, Item 62 Pipe and fuzing a i igure i ii. Item 62 Pipe and fuzing system)

 

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“2018-03241 Item 62

    

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(Figure 112, Item 62 X-Ray of Pipe and fuzing system)

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This [ED had some components of an electrical fuzing system. An

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electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

The required components for an electrical fuzing system were present in the submitted items. It
should be noted that due to the RSP performed on the IED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This

leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 6 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional! fuzing system is a result of poor design
or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 62 (Figures 108-112) are two (2) wires; one (1) red insulated wire and one (1)
black insulated wire. Both the black and red insulated wires are multi-strand copper colored wire
with an approximate measurement of 15 AWG. Wires, properly connected would act as a
conductor of energy for an IED.

Item 62 (Figures 108-112) had one (1) coiled up piece of solder which was attached to the red
insulated wire. The other end of the solder had been separated from the black wire due to the
RSP performed on this IED. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 62 (Figures 108-112) had one (1) black colored clock that was attached to the pipe nipple
by Item 62-3, hook and loop tape. The clock had two holes made into its side. The clock had one
(1) black wire inserted into the side of the clock and the wire was not attached to the power
source (battery) or any wires leading to a power source.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. A clock properly connected could act as a
switch in an IED.

The battery in the clock was an “AGJO” battery and had not been altered. The battery was silver
in color measuring approximately 0.45 inch in diameter and approximately 0.122 inch in height.
The potential measured voltage was 1.4 volts. The battery had rust on it masking the
manufacturer’s information. The battery is consistent with a LR 41 button type battery. A
battery properly connected could act a power source for an IED.

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IED ENHANCEMENTS:

Fragmentation:

Present in Items 62-6-1 through Item 62-6-4 are small fragments of broken glass. Added
hardened objects, such as glass, are referred to as fragmentation. Fragmentation is added to IEDs
to enhance physical damage to the surrounding area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the pipe nipple with end caps (Item 62) and/or the
envelope (Item 63) during examinations in the laboratory.

Item 62-2, are pieces of black tape varying lengths with a width of .75 inch.
Item 62-4, is one (1) picture of a face that appears to be representative of Maxim Waters.

Items 62-5, is one (1) piece of paper with print on it that appears to a representative attempt at
Arabic writing.

Items 63-1 through Item 63-6 are six (6) U.S. Postal stamps removed from Item 63.

Item 63-7, is one (1) piece of paper with the following information typed on it; “TO: MAXIM
WATERS, 10124 SOUTH BROADWAY #1, LOS ANGELES, CALIFORNIA, 90003”.

Item 63-8, is one (1) piece of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Item 64 is one (1) manila envelope that contained powder and debris. A powder sample, Item 60
was removed from the envelope was examined and deemed not energetic. For full analysis see
the FBI Laboratory Report for Laboratory number 2018-03241-3, dated November 7, 2018,
authorized by Christine M. Marsh. (CMM). Benign powders have been added to IEDs to
simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 1};
Items 59, 62-1, 62-6, 63-9, 64-1, 64-1-1, and Item 64-2. These items, along with all items in this
miscellaneous section were deemed not to have any relevance to the conclusions reached by this
explosives and hazardous device examiner. However, the items may be part of other
examinations and FBI Laboratory reports.

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SUBMISSION 12 (Device 12)

Submission 12, labeled as Device 12, consisted of Items 65 through Item 68-1-2, addressed to
James Robert Clapper, Time Warner (CNN), 10 Columbus Circle, New York, N.Y., 10019. This
device was transported to the FBI Explosives Unit and Rendered Safe at Charlie Demolition
Range, Quantico, VA by FBI Bomb Technicians.

MAIN CHARGE:

Powder (Item 67) was removed from the pipe nipple (Item 66) and chemical analysis of a
powder sample (Item 67-1) identified oxidizers and fuels that are commonly utilized in low
explosive pyrotechnic formulations. Upon direct exposure to flame, one or more portions of Item
67-1 reacted energetically. Analysis also identified other chemicals consistent with fertilizer
components and commercially available pool shock in Item 67-1. For detailed information on the
chemical analysis conducted on Item 67-1, see the FBI Laboratory Report for Laboratory number
201 8-03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to

deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

 

 

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(Figure 113, ; Front of tiem 65). (Figure 114, Back of Item 65)

 

 

 

 

 

 

 

Present in Item 65 (Figures 113 and 114) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

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The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

    

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(Figure 115, Item 66 Pipe with fuzing system) Gigne ] 16, Item 66 Pipe with ‘izing system)

 

 

 

 

Present in Item 66 (Figures 115 and 116) is one (1) white colored plastic pipe nipple with two (2)
end caps. The inner diameter of the pipe nipple measures approximately 0.82 inch with an
approximate outer diameter of 1.00 inches and an approximate length of 5.25 inches. Information
printed on the pipe nipple is as follows “CHARLOTTE PIPE r PLNC TRUEFIT SYSTEM
0400”.

The end caps are similar in dimensions measuring approximately 1.03 inches in length with an
outer diameter of approximately 1.31 inches and an approximate inner diameter of 1.04 inches.
The end caps had similar manufacturer information on them, with minor differences due to some
information being obliterated due to the end caps having one small! hole made in each measuring
approximately 0.18 inch in diameter. The end caps had the following information on it,
“CHARLOTTE, USA 447, 007 % SCH 40, D-2466 PVC-1, NSF-pw”, “5” on end cap A and “2”
on end cap B. The holes in the end caps are commonly referred to as a priming hole, which
allows for insertion of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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(Fi igure 117, item 66 Pipe with fuzing system)

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(Figure 118, item 66 Pipe with fuzing system)

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(Figure 119, Item 66 Pipe with fuzing system)

 

 

 

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(Figure 21, Trem em 66 6 Pipe with fuzing ‘system)

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Fi igure 122, ‘Ttem 66 Pine : with: fuzing nae

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( . “(2018-03241 Item 66}

(Figure 123, Item 66 X-Ray of Pipe and fuzing system)

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

As submitted, the Device 12 would not have functioned as a result of its design. The fuzing
system lacked the proper components and assembly to enable it to function as a method of
initiation for this device. It cannot be determined if the non-functional fuzing system is a result
of poor design or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 66 (Figures 117 through 123) are two (2) wires; one (1) red insulated wire and
one (1) black insulated wire. Both the black and red insulated wires are multi-strand copper
colored wire with an approximate measurement of 15 AWG. Wires, properly connected would
act as a conductor of energy for an IED.

Item 66 (Figures 117 through 123) had one (1) coiled up piece of solder that was attached on
both ends to the wires described above. The coiled up solder was on the inside of the pipe. Thin
wires, referred to as bridge wires, are utilized in JIED’s to restrict electrical current and generate
the heat needed to initiate a low explosive. Solder is not an efficient material to be utilized in this
manner.

Item 66 (Figures through 117 and 120 and 123) had one (1) black colored clock that was
attached to the pipe nipple by hook and loop tape. The clock had two holes made into its side.
One red insulated wire and one black insulated wire were inserted into opposite holes in the
clock.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker (Item 66-6), with the numbers “11:35”, was attached to the

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front of the clock. The clock had no manufacturer markings. The wires that were placed into
opposite sides of the clock were not attached to the power source (battery) or any wires leading
to a power source. A clock properly connected could act as a switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.452 inch in diameter and approximately 0.121 inch in height.
The potential measured voltage was 1.4 volts. The battery had the following markings on it,
“AGIO + 0.0% Hg CELL”; and is consistent with a LR 41 button type battery. A battery
properly connected could act a power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 67-2 through 67-11 are small fragments of broken glass. These glass pieces
were inside the confinement container. Added hardened objects, such as glass, are referred to as
fragmentation. Fragmentation is added to IEDs to enhance physical damage to the surrounding
area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 65) and/or the pipe nipple with end
caps (Item 66) during examinations in the laboratory.

Items 65-1 through Item 65-6 are six (6) U.S. Postal stamps removed from Item 65.

Item 65-7, is a piece of paper with the following information typed on it; “TO: JAMES
ROBERT CLAPPER, TIME WARNER (CNN), 10 COLUMBUS CIRCLE, NEW YORK, N.Y.
10019”.

Item 65-8, is one (1) piece of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARK WAY, SUNRISE,
FLORIDS, 33325”.

Item 66-1, is two (2) various pieces of black tape varying lengths with a width of .75 inch.

Item 66-2-1, is one (1) picture of a face that appears to be representative of James Clapper.

Item 66-2-2, is one (1) piece of paper with print on it that appears to be a representative attempt
at Arabic writing.

Item 66-3, is one (1) piece of padded envelope.

Items 66-4 and 66-5 are hook and loop tape from Item 66.

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Item 68 is one (1) manila envelope that contained powder and debris. A powder sample, Item
68-1, was removed from the envelope and a sub-sample, Item 68-1-1, was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-
03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 12;
Items 65-7-1, 65-9, 66-2, and 68-1-2. These items, along with all items in this miscellaneous
section were deemed not to have any relevance to the conclusions reached by this explosives and
hazardous device examiner. However, the items may be part of other examinations and FBI
Laboratory reports.

SUBMISSION 13 (Device 13)

Submission 13, labeled as Device 13, consisted of Items 69 through Item 72-1, and Items 84
through Item 85, addressed to Kamalia Harris, Suite 7-600, Sacramento, California 95814. This
Device was RSP’ed by local bomb squads in the Sacramento Division. It is common to not
recover all of the components of an IED after an RSP because of the violent nature of the
procedure on the IED.

MAIN CHARGE:

A chemical analysis of a powder sample (Item 85) identified oxidizers and fuels that are
commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to flame,
one or more portions of Item 85 reacted energetically. Analysis also identified other chemicals
consistent with fertilizer components and commercially available pool shock in [tem 85. For
detailed information on the chemical analysis conducted on Item 85, see the FB] Laboratory
Report for Laboratory number 201 8-03241-3, dated November 7, 2018, authorized by Christine
M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to

deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

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CONTAINER(S):

Concealment Container:

 

 

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(Figure 124, Remains of Item 69) (Figure 125, Remains of Item 69 Front/Back)

 

 

 

 

 

Present in Item 69 (Figures 124 and 125) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
TED.

Confinement Container:

 

 

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(Figure 126, Item 50 remains of plastic pipe) (Figure 127, item 70 remains of plastic pipe)

 

Present in Item 70 (Figures 126 and 127) are the remains of one (1) white colored plastic pipe
nipple with two (2) end caps. The inner diameter of the pipe nipple measures approximately 0.91
inch with an approximate outer diameter of |.07 inches and an approximate length of 4.824
inches. Information printed on the pipe nipple is as follows “U.P. Code ASTM D 2241”. One end
cap was separated from the main pipe due to the RSP.

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The end caps measures approximately 1.13 inches in length with an outer diameter of
approximately 1.29 inches and an approximate inner diameter of 1.03 inches. The end caps had
similar manufacturer information on them, with minor differences due to some information being
obliterated due to the end caps having one small hole made in each measuring approximately
0.18 inch in diameter. The end caps had the following information on them, “CHARLOTTE,
U.S.A. %...CH 40 D-2466 PVC-1, NSF-pw”, and “11” on end cap A and “14” on end cap B.
The holes in the end caps are commonly referred to as a priming hole, which allows for insertion
of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

FUZING SYSTEM:

 

 

 

 

 

 

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(Fig igure 129, Item 70 Pipe and fuzing system)

 

 

 

 

 

 

   

    

 

 

 

 

 

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(Figure 130, Item 70 Pipe and fuzing system = (Figure 131, ‘tem 70 Pipe and faring system)

A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

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electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

The required components for an electrical fuzing system were present in the submitted items. It
should be noted that due to the RSP performed on the IED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This

leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 13 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 70 (Figures 128 through 131) are two (2) wires; one (1) red insulated wire and
one (1) black insulated wire. Both the black and red insulated wires are multi-strand copper
colored wire with an approximate measurement of 15 AWG. Wires, properly connected would
act as a conductor of energy for an IED.

Item 70 (Figures 128 through 131) had one (1) coiled up piece of solder that was attached to the
red insulated wire. The other end of the solder had been separated from the black wire due to the
RSP performed on this IED. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 70 (Figures 128 through 131) had one (1) black colored clock that was attached to the pipe
nipple by Item 70 -3, hook and loop tape. The clock had two holes made into its side. The clock
had one (1) red wire inserted into the side of the clock and the wire was not attached to the power
source (battery) or any wires leading to a power source.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. A clock properly connected could act as a
switch in an JED.

The battery in the clock was an “AGJO” battery and had not been altered. The battery was silver
in color measuring approximately 0.45 inch in diameter and approximately 0.120 inch in height.
The potential measured voltage was 1.3 volts. The battery is consistent with a LR 4] button type
battery. A battery properly connected could act a power source for an IED.

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TED ENHANCEMENTS:

Fragmentation:

Present in Items 70-6, 71-1 through Item 71-10 are small fragments of broken glass. Added
hardened objects, such as glass, are referred to as fragmentation. Fragmentation is added to IEDs
to enhance physical damage to the surrounding area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 69) and/or the pipe nipple with end
caps (Item 70) during examinations in the laboratory, or in the field by evidence teams.

Item 69-1, is one (1) piece of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Item 69-2, is one (1) piece of paper with the following information typed on it; “TO: KAMALIA
HARRIS, SUITE 7-600, SACRAMENTO, CALIFORNIA 95814”.

Items 69-3 through Item 69-8 are six (6) U.S. Postal stamps removed from Item 69.
Item 70-2, are pieces of black tape varying lengths with a width of .75 inch.

Item 70-4, is one (1) picture of two faces, one that appears to be representative of Kamalia
Harris.

Items 70-5, is one (1) piece of paper with print on it that appears to a representative attempt at
Arabic writing.

Item 72 is one (1) manila envelope that contained powder and debris. A powder sample from
Item 72, labeled as Item 84, was examined and deemed not energetic. For full analysis see the
FBI Laboratory Report for Laboratory number 2018-03241-3, dated November 7, 2018,
authorized by Christine M. Marsh. (CMM). Benign powders have been added to IEDs to
simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 13;
Items 69-9, 70-1, and Item 72-1. These items, along with all items in this miscellaneous section
were deemed not to have any relevance to the conclusions reached by this explosives and
hazardous device examiner. However, the items may be part of other examinations and FBI
Laboratory reports.

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SUBMISSION 14

Submission 14, Items 73 through 77 were recovered by the FBI Miami Division during a search
of the Subject’s van.

Items 73, 74 and 76 consisted of commercially produced fireworks and wrappers. Fireworks are
also referred to as low explosive pyrotechnic devices.

The powder in commercially produced fireworks can be removed and utilized as a main charge
in an Improvised Explosive Device (IED).

Additional items in this submission, Items 75 and 77 consisted of timers and solder.

Pyrotechnic Items and wrappers:

 

 

 

  

 

 

 

(Figure 132, Item 73 Fire work) , ” — (Figure 133, Ttem 74 Mr. Crackle Srework)

Item 73 (Figure 132) is one (1) “TNT BLAZING REBEL” pyrotechnic manufactured for
American Promotional Events Inc., Florence, AL 35630,

Item 74 (Figure 133) is one (1) “TNT MR. CRACKLE” pyrotechnic manufactured for American
Promotional Events Inc., Florence, AL 35630.

EXPLOSIVES CHEMISTRY:

A chemical analysis of a powder sample (Items 73-2 and 74-2) identified oxidizers and fuels that
are commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to
flame, one or more portions of Items 73-2 and 74-2 reacted energetically. Items 73-3 and Item
74-3 contained a low explosive mixture of potassium perchlorate and material consistent with
charcoal (fuel). For detailed information on the chemical analysis conducted on these items, see
the FBI Laboratory Report for Laboratory number 2018-03241-3, dated November 7, 2018,
authorized by Christine M. Marsh. (CMM)

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When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

MISCELLANOUS ITEMS:

 

 

 

 

 

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clock Item 77)

 

 

(Figure 135, Electronic

Items 75 and 75-1 (Figure 134) consisted of three (3) packages, each containing one (1) roll of
solder. The solder brand was “HYPER TOUGH SOLDER” and distributed by Walmart Stores,
Inc.

This solder is visibly similar to the solder utilized in the other devices covered in this report.

Item 77 (Figure 135) is one (1) black colored clock that was not consistent with the other clocks
in the submissions covered in this report. The clock had no manufacturer information on it

except for the letters “XT” that have been printed on the face. The clock measures approximately
3.25 inches by 1.5 inches and has two buttons on the front.

The following items submitted under Submission 14; Items 73-1, 74-1 and 76 are wrappers to the
low explosives in this submission (Items 73, 74 and 76). These items contained manufacturer
information.

SUBMISSION 15 (Device 14)

Submission 15, labeled as Device 14, consisted of Items 78 through Item 81-2, addressed to Tom
Steyers, | Maritime Pl, 2 Suite 1325, San Francisco, California, 94111. This Device was RSP’ed
by local bomb squads in the Sacramento Division. It is common to not recover all of the
components of an IED after an RSP because of the violent nature of the procedure on the IED.

MAIN CHARGE:
A chemical analysis of a powder sample (Item 80) identified oxidizers and fuels that are

commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to flame,
one or more portions of Item 80 reacted energetically. Analysis also identified other chemicals

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consistent with fertilizer components and commercially available pool shock in Item 80. For
detailed information on the chemical analysis conducted on Item 80, see the FBI Laboratory

Report for Laboratory number 2018-03241-3, dated November 7, 2018, authorized by Christine
M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

  

  
  

    

    

 

  
    

 

 

 

 

 

 

 

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igure 136, Front of Item 78) (Figure 1 137, Back of Item 78)

Present in Jtem 78 (Figures 136 and 137) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A
concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

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(Figure 138, ‘Tiem 79 remains “of plastic pipe) at igure 130. Item 79 remains of plastic pipe)

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Present in Item 79 (Figures 138 and 139) are the fragmented remains of one (1) white colored
plastic pipe nipple with one (1) end cap and one (1) fragmented end cap. The inner diameter of
the pipe nipple measures approximately 0.90 inch with an approximate outer diameter. The
length of the remaining part of the pipe nipple is approximately 3.50 inches. Information printed

on the pipe nipple is as follows “....SF @ pw-G...U.P....”. Part of the pipe nipple and end cap,
was fragmented due to due to the RSP.

The end cap in (Figures 138 and 139) measures approximately 1.13 inches in length with an
outer diameter of approximately 1.29 inches and an approximate inner diameter of 1.03 inches.
The end cap had the following information on it “CHARLOTTE, U.S.A. ... % SCH 40 D-2466
PVC-1, NSF-pw”, and “2” on the end cap. The end cap had one small hole in it with a diameter
measuring approximately 0.18 inch. These holes are commonly referred to as a priming hole,
which allows for insertion of a fuzing system into the main charge container. Due to the
fragmented nature of the other end cap, no information or measurements could be obtained.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

FUZING SYSTEM:

 

 

  
    

 

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(Fig igure 141, tem 79 Pipe and 4 faving system)

 

 

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(Figure 142, Item 79 Pipe and fuzing System) (Figure 143, Item 79 Pipe and fuzing System)
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(Figure 144, Item 79 Pipe and fuzing system) (Figure 145, Item 79 Pipe and fuzing system)

 

 

 

 

2018-03241 Item 79?

 

(Figure 146, Item 79 x-ray of pipe and fuzing system)

A Fuzing system in an JED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An
electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

It should be noted that due to the RSP performed on the JED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This

leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 14 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

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Conductors, Power source and Switch:

Present in Item 79 (Figures 140 through 146) is one (1) black insulated wire. The black insulated
wire is a multi-strand copper colored wire with an approximate measurement of 15 AWG. Wires,
properly connected would act as a conductor of energy for an IED. It should be noted that no red
insulated wire was submitted which would be consistent with the other devices.

Item 79 (Figures 140 through 146) had one (1) coiled up piece of solder that was attached to the
black insulated wire. The other end of the solder had been separated from the other wire,
logically a red wire, due to the RSP performed on this IED. The coiled up solder was on the
inside of the pipe. Thin wires, referred to as bridge wires, are utilized in IED’s to restrict
electrical current and generate the heat needed to initiate a low explosive. Solder is not an
efficient material to be utilized in this manner.

Item 79 (Figures 140 through 146) had one (1) black colored clock that was attached to the pipe
nipple by Item 79-5, hook and loop tape. The clock had two holes made into its side. The clock
had one (1) black wire inserted into the side of the clock and the wire was not attached to the
power source (battery) or any wires leading to a power source.

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. A clock properly connected could act as a
switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.45 inch in diameter and approximately 0.119 inch in height.
The potential measured voltage was 1.3 volts. The battery is consistent with a LR 41 button type
battery. A battery properly connected could act a power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 79-10 through Item 79-19 are small fragments of broken glass. Added hardened
objects, such as glass, are referred to as fragmentation. Fragmentation is added to IEDs to
enhance physical damage to the surrounding area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 78) and/or the pipe nipple with end
caps (Item 79) during examinations in the laboratory or in the field by evidence teams.

Items 78-1 through Item 78-6 are six (6) U.S. Postal stamps removed from Item 78.

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Item 78-7, is one (1) piece of paper with the following information typed on it; “TO: TOM
STEYERS, 1 MARITIME PL 2 SUITE 1325, SAN FRANCISCO, CALIFORNIA 94111”.

Item 78-8, is one (1) piece of paper with the following information typed on it; “FROM:

DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARK WAY, SUNRISE,
FLORIDS, 33325”,

Item 79-1, 79-2, and 79-3, are pieces of black tape varying lengths with a width of .75 inch.

Items 79-6, is one (1) piece of paper with print on it that appears to a representative attempt at
Arabic writing.

Item 79-7, is one (1) picture of two faces, one that appears to be representative of Tom Steyers.

Item 81 is one (1) manila envelope that contained powder and debris. A powder sample, Item
81-1, was removed from the envelope and a sub-sample, Item 81-1-1, was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-
03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 15;
Items 78-9, 78-9-1, 79-4, 79-8, 79-9, 81-1-2, and Item 81-2 are varying pieces of evidence.
These items, along with all items in this miscellaneous section were deemed not to have any
relevance to the conclusions reached by this explosives and hazardous device examiner.
However, the items may be part of other examinations and FBI Laboratory reports.

SUBMISSION 16 (No Device)

Submission 16, (No Device) consisted of Items 82 through Item 83, and Item 99. These items
were deemed not to have any relevance to the conclusions reached by this explosives and
hazardous device examiner. However, the items may be part of other examinations and FBI
Laboratory reports.

SUBMISSION 17 (Device 15)
Submission 17, labeled as Device 15, consisted of Items 89 to Item 90-5, and Items 95 to Item
98-2, addressed to CNN, One CNN Center, Atlanta, Georgia 30303. This Device was RSP’ed by

local bomb squads in the Atlanta Division. It is common to not recover all of the components of
an IED after an RSP because of the violent nature of the procedure on the IED.

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MAIN CHARGE:

A chemical analysis of a powder sample Item 96 and Item 97, identified oxidizers and fuels that
are commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to
flame, one or more portions of Item 96 and Item 97, reacted energetically. Analysis also
identified other chemicals consistent with fertilizer components and commercially available pool
shock in Item 96 and Item 97. For detailed information on the chemical analysis conducted on
Item 96 and Item 97, see the FBI Laboratory Report for Laboratory number 2018-03241-3, dated
November 7, 2018, authorized by Christine M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

 

  
 

    

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(Figure 147, Front of It Ttem 89) (Figure 148, Back of Item gy)

Present in Item 89 (Figures 147 and 148) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
TED.

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Confinement Container:

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item 89 Pipe and fuzing system) ,

 

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(Figure 149, Ttem 89 Pipe and fuzing system)

Present in Item 89 (Figures 149 and 150) are the remains of one (1) white colored plastic pipe
nipple with two (2) end caps. The inner diameter of the pipe nipple measures approximately 0.79
inch with an approximate outer diameter of 1.07 inches and an approximate length of 4.58
inches. Information printed on the pipe nipple is as follows “...IPE.com CHARLOTTE PIPER
PLNC True Fit Sys”. The pipe was separated from the main pipe due to the RSP.

The end caps measure approximately 1.13 inches in length with an outer diameter of
approximately 1.29 inches and an approximate inner diameter of 1.04 inches. The end caps had
similar manufacturer information on them, with minor differences due to some information being
obliterated due to the end caps having one small hole made in each measuring approximately
0.18 inch in diameter. The end caps had the following information on them, “CHARLOTTE,
U.S.A. 447 ... % SCH 40 D-2466 PVC-1, NSF-pw”, and “3” on end cap A and “8” on end cap
B. These holes are commonly referred to as a priming hole, which allows for insertion of a
fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

 

 

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(Figure 152, Item 90 Pipe and fuzing system)

 

   

 

 

    

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Figure 155, Item 90 X-ray of pipe and fuzing system)

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A Fuzing system in an IED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

It should be noted that due to the RSP performed on the IED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This

leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 15 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 90 (Figures 151 through 155) are two (2) wires; one (1) red insulated wire and
one (1) black insulated wire. Both the black and red insulated wires are multi-strand copper
colored wire with an approximate measurement of 15 AWG. Wires, properly connected would
act as a conductor of energy for an IED.

Item 90 (Figures 151 through 155) had one (1) coiled up piece of solder that was attached to the
black insulated wire. The other end of the solder had been separated from the red wire due to the
RSP performed on this IED. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 90 (Figures 151 through 155) is one (1) black colored clock that was attached to the pipe
nipple by hook and loop tape Item 90-4. The clock had two holes made into its side. One red
insulated wire and one black insulated wire were inserted into opposite holes in the clock,

The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.45 inch in diameter and approximately 0.119 inch in height.
The potential measured voltage was 1.4 volts. The battery is consistent with a LR 41 button type
battery. A battery properly connected could act a power source for an IED.

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IED ENHANCEMENTS;
Fragmentation:

Present in Items 97-2 through Item 97-6 are small fragments of broken glass. Added hardened
objects, such as glass, are referred to as fragmentation. Fragmentation is added to IEDs to
enhance physical damage to the surrounding area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the envelope (Item 89) and/or the pipe nipple with end
caps (Item 90) during examinations in the laboratory, or in the field by evidence teams.

Items 89-1 through Item 89-6 are six (6) U.S. Postal stamps removed from Item 89.

Item 89-8, is one (1) piece of paper with the following information typed on it; “TO: CNN, ONE
CNN CENTER, ATLANTA, GEORGIA 30303”.

Item 89-9, is one (1) piece of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARK WAY, SUNRISE,
FLORIDS, 33325”.

Item 90-1, are pieces of black tape varying lengths with a width of .75 inch.

Items 90-3, is one (1) piece of paper with print on it as follows, “reserves the right to publish his
identity”, also “CNN” and other markings that appears to a representative attempt at Arabic
writing.

Item 98 is one (1) manila envelope that contained powder and debris. A powder sample Item 95
was removed from the envelope, and was examined and deemed not energetic. For full analysis
see the FBI Laboratory Report for Laboratory number 2018-03241-3, dated November 7, 2018,
authorized by Christine M. Marsh. (CMM). Benign powders have been added to IEDs to
simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 17;
Items 89-7, 89-10, 89-10-1, 90-2, 97-1, 98-1, 98-1-1, and Item 98-2. These items, along with all
items in this miscellaneous section were deemed not to have any relevance to the conclusions
reached by this explosives and hazardous device examiner. However, the items may be part of
other examinations and FBI Laboratory reports.

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SUBMISSION 18 (Device 16)

Submission 18, labeled as Device 16, consisted of Items 91 through Item 94, addressed to Tom
Steyers, 3 Embarcadero Center, Suite 2330, San Francisco, California 94111. This Device was
RSP’ ed by local bomb squads in the San Francisco Division. It is common to not recover all of

the components of an IED after an RSP because of the violent nature of the procedure on the
IED.

MAIN CHARGE:

A chemical analysis of a powder sample Item 94 identified oxidizers and fuels that are
commonly utilized in low explosive pyrotechnic formulations. Upon direct exposure to flame,
one or more portions of Item 94 reacted energetically. Analysis also identified other chemicals
consistent with fertilizer components and commercially available pool shock in Item 94. For
detailed information on the chemical analysis conducted on Item 94, see the FBI Laboratory
Report for Laboratory number 2018-03241-3, dated November 7, 2018, authorized by Christine
M. Marsh. (CMM)

When properly ignited by a suitable source of heat or energy, low explosives are designed to
deflagrate and generate gases. Properly confined in a container such as pipe, the gases from the
deflagration generate pressure on the container walls and cause an explosion of the container.

CONTAINER(S):

Concealment Container:

 

 

   

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(Figure 13 156, Front of item 92) ‘(Figure 157, Back of Item 92)

 

 

 

 

 

 

 

Present in Item 92 (Figures 156 and 157) is one (1) manila envelope, with bubble wrap lining on
the inside. Information printed on the back indicates that it is a DuckBrand envelope with an
inside dimension of 4 inches x 7 inches and a bar code of 75353 39560, distributed by ShurTech
Brands LLC, AVON, OH 44011.

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The envelope served not only as the shipping envelope, but also the concealment container. A

concealment container hides the components of the IED so unsuspecting victim(s) cannot see the
IED.

Confinement Container:

 

 

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(Figure 158, item 91 Pipe and fuzing system) (Figure 159, Item 91 Pipe and fuzing system)

Present in Item 91 (Figures 158 and 159) are the remains of one (1) white colored plastic pipe
nipple with two (2) end caps. The inner diameter of the pipe nipple measures approximately 0.75
inch with an approximate outer diameter of 1.05 inches and an approximate length of 5.00
inches. Information printed on the pipe nipple is as follows “PSI @ 23C NSF PW-G U.P. Code

AS...TM...D”. The pipe is shown in Figure 159, was separated from the main pipe due to the
RSP.

The end caps measure approximately 1.00 inches in length with an outer diameter of
approximately 1.29 inches and an approximate inner diameter of 1.04 inches. The end caps had
similar manufacturer information on them, with minor differences due to some information being
obliterated due to the end caps having one small! hole made in each measuring approximately
0.18 inch in diameter. The end caps had the following information on them, “CHARLOTTE,
ULS.A. 447 ... % SCH 40 D-2466 PVC-1, NSF-pw”, and “3” on end cap A and “1” on end cap
B. The holes in the end caps are commonly referred to as a priming hole, which allows for
insertion of a fuzing system into the main charge container.

The purpose of the main charge container is to hold the low explosive main charge and to
temporarily contain the gases produced from the deflagration of the low explosive. An explosion
occurs as the container is overcome by the amount of pressure generated from the deflagration of
the low explosive. The resulting explosion would have resulted in pipe fragments being
propelled outwards at high velocities into the surrounding environment.

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FUZING SYSTEM:

 

 

 

 

 

 

 

  
   
 
  

  

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(Figure 162, Item em 91 Pipe and fazing system)

 

 

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(Figure 164, Item 91 Pipe and fuzing system) (Figure 65, Item di Pipe and faring iy

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(Figure 166, Item 91 Pipe and fuzing system) (Figure 167, Item 91 x-ray of Pipe and fuzing system)

A Fuzing system in an JED is required to provide the stimulus or energy to cause the main
charge explosive to function. This IED had some components of an electrical fuzing system. An

electrically activated fuzing system consists of a power source, conductors (wire), switch(es) and
a load.

It should be noted that due to the RSP performed on the IED the exact design is difficult to
determine; however, the submitted items are consistent with the other IEDs in this report. This

leads this device examiner to the conclusion that the fuzing system in this IED is similar to the
other IEDs.

As submitted, Device 16 would not have functioned as a result of its design. The fuzing system
lacked the proper components and assembly to enable it to function as a method of initiation for
this device. It cannot be determined if the non-functional fuzing system is a result of poor design
or the intent of the builder.

Conductors, Power source and Switch:

Present in Item 91 (Figures 160 through 167) are two (2) wires; one (1) red insulated wire and
one (1) black insulated wire. Both the black and red insulated wires are multi-strand copper
colored wire with an approximate measurement of 15 AWG. Wires, properly connected would
act as a conductor of energy for an [ED.

Item 90 (Figures 160 through 167) had one (1) coiled up piece of solder which was attached to
the black insulated wire. The other end of the solder had been separated from the red wire due to
the RSP performed on this IED. The coiled up solder was on the inside of the pipe. Thin wires,
referred to as bridge wires, are utilized in IED’s to restrict electrical current and generate the heat
needed to initiate a low explosive. Solder is not an efficient material to be utilized in this manner.

Item 90 (Figures 160 through 167) is one (1) black colored clock that was attached to the pipe

nipple by hook and loop tape Item 91-7. The clock had two holes made into its side. One red
insulated wire and one black insulated wire were inserted into opposite holes in the clock.

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The clock measures approximately 3 inches by 1.5 inches and has two buttons on the front. A
clear plastic, factory printed sticker, with the numbers “11:35”, was attached to the front of the
clock. The clock had no manufacturer markings. The wires that were placed into opposite sides
of the clock were not attached to the power source (battery) or any wires leading to a power
source. A clock properly connected could act as a switch in an IED.

The battery in the clock was an “AGIO” battery and had not been altered. The battery was silver
in color measuring approximately 0.45 inch in diameter and approximately 0.123 inch in height.
The potential measured voltage was 1.4 volts. The battery is consistent with a LR 41 button type
battery. A battery properly connected could act a power source for an IED.

IED ENHANCEMENTS:

Fragmentation:

Present in Items 91-8 through Item 91-16 are small fragments of broken glass. Added hardened
objects, such as glass, are referred to as fragmentation. Fragmentation is added to IEDs to
enhance physical damage to the surrounding area, and/or injure/kill personnel in the vicinity.

MISCELLANEOUS:

The following items were removed from the pipe nipple with end caps (Item 91) and/or the
envelope (Item 92) during examinations in the laboratory, or in the field by evidence teams.

Item 91-2 and Item 91-3, are pieces of black tape varying lengths with a width of .75 inch.
Item 91-5, is one (1) picture of two faces, one that appears to be representative of Tom Steyers.

Items 91-6, is one (1) piece of paper with print on it that appears to a representative attempt at
Arabic writing.

Items 92-1 through Item 92-6 are six (6) U.S. Postal stamps removed from Item 92.

Item 92-8, is one (1) piece of paper with the following information typed on it; “TO: TOM
STEYERS, 3 EMBARCADERO CENTER, SUITE 2330, SAN FRANCISCO, CALIFORNIA
94111”.

Item 92-9, is one (1) piece of paper with the following information typed on it; “FROM:
DEBBIE WASSERMAN SHULTZ, 777 SAW GRASS CORPORATE PARKWAY, SUNRISE,
FLORIDS, 33325”.

Item 93 is one (1) manila envelope that contained powder and debris. A powder sample, Item

93-1, was removed from the envelope and a sub-sample, Item 93-1-1, was examined and deemed
not energetic. For full analysis see the FBI Laboratory Report for Laboratory number 2018-

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03241-3, dated November 7, 2018, authorized by Christine M. Marsh. (CMM). Benign powders
have been added to IEDs to simulate chemical or biological enhancement.

The following items are varying pieces of evidence and were submitted under Submission 18;
Items 91-1, 91-4, 92-7, 93-2, 92-10 and Item 93-3 are varying pieces of evidence. These items,
along with all items in this miscellaneous section were deemed not to have any relevance to the
conclusions reached by this explosives and hazardous device examiner. However, the items may
be part of other examinations and FBI Laboratory reports.

METHODS:

The methods utilized during the analysis of the evidentiary items included the following, as
appropriate:

visual examinations of observable, physical characteristics;

visual comparison examinations of observable, physical characteristics;
microscopical examinations of observable, physical characteristics;
microscopical comparison examinations of observable, physical characteristics;
measurements of physical characteristics;

measurement comparison examinations of physical characteristics;

visual examinations of photographs;

visual examinations of x-ray images, and

reviews of references.

GENERAL LIMITATIONS:

Item source identifications that refer to a specific distributor or manufacturer have not
been confirmed with that distributor or manufacturer unless otherwise stated in this
report.

The physical characteristics, such as, but not limited to, material type, shape, and color of
all evidentiary items described in the Results of Examination section of this report are
based on visual and/or microscopical observations, unless otherwise noted. Other
parameters such as, but not limited to, distances, angles, and voltages associated with
individual evidentiary items described in the Results of Examination section of this report
are based on physical measurements and are approximate, unless otherwise noted. Should
a more complete characterization of these items be required, additional examinations can
be requested of the appropriate forensic discipline. Diagrams such as, but not limited to,
drawings and schematics are not to scale, unless otherwise noted,

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SPECIFIC INTERPRETATIONS AND LIMITATIONS:

Due to the absence or alterations of specific manufacturer or other unique markings on items of
evidence, conclusive identification of the source of an item may not always be effected in every
case. Conclusive determinations of the exact design and functioning of a rendered safe or
disassembled improvised explosive device may not be effected in every case due to the condition
of the components.

REMARKS:

For questions about the content of this report, please contact Forensic Examiner SSA
Kevin D Finnerty at (703)632-7022.

For questions about the status of your submission, including any remaining forensic
examinations, please contact Kevin D Finnerty at (703)632-7022.

The evidence will be returned under separate cover.

This report contains the opinions and interpretations of the issuing examiner(s) and is
supported by records retained in the FBI files.

The work described in this report was conducted at the Quantico Laboratory.

SSA Kevin D Finnerty
Explosives Unit

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